                                          Kenya Walton                November 15, 2022
                              Irving, Yolandav. The City Of Raleigh

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1                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NORTH CAROLINA
2                                  WESTERN DIVISION
3                             Case No. 5:22-CV-00068-BO
4
5
               YOLANDA IRVING, et al.,                     )
6                                                          )
                                  Plaintiffs,              )
7                                                          )
                         V.                                )
8                                                          )
               THE CITY OF RALEIGH, et                     )
9              al.,                                        )
                                                           )
10                         Defendants.                     )
               __________________________                  )
11
12
13
14                                      VIDEOTAPED DEPOSITION
                                                 OF
15                                          KENYA WALTON
16
                                          NOVEMBER 15, 2022
17                                     10:24 A.M. - 3:15 P.M.
18
19                                   TIN FULTON WALKER & OWEN
                                      407 North Person Street
20                                    Raleigh, North Carolina
21
22
23
24         Reported by: Michelle Maar, RDR, RMR, FCRR
25

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23         Also Present:
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24
25

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1                                P R O C E E D I N G S

2                      THE VIDEOGRAPHER:       We are now on the record at

3          10:24 a.m., on November 15, 2022.

4                      This is Media Number 1 in the deposition of Kenya

5          Walton, taken in the matter of Yolanda Irving, et al.,

6          versus The City of Raleigh, et al., Case Number

7          5:22-CV-00068-BO.

8                      This deposition is being held at Tin Fulton Walker

9          & Owen, in Raleigh, North Carolina.

10                     My name is Carl Rehl.        The Court Reporter is

11         Michelle Maar.

12                     Would counsel now please introduce yourselves,

13         after which the court reporter will swear in the witness.

14                     MS. GLADDEN:     Emily Gladden on behalf of Ms.

15         Walton and all Plaintiffs.

16                     MS. PETTY:     Amy Petty, on behalf of The City of

17         Raleigh and official capacity defendants.

18                     MS. POOLE:     Alayna Poole, on behalf of Defendants

19         Gay, Monroe, and Rattelade in their individual capacities.

20                     MR. BENTON:     Jason Benton, on behalf of Omar

21         Abdullah.

22                     MS. PACKER:     Leslie Packer, on behalf of the SEU

23         Officers.

24                     MR. BLANCHARD:      Norwood Blanchard, on behalf of

25         Sergeant William Rolfe.

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1                                     KENYA WALTON,

2             called as a witness and having been first duly sworn,

3                       was examined and testified as follows:

4

5                                       EXAMINATION

6          BY MS. PACKER:

7               Q.      Ms. Walton, my name is Leslie Packer.

8                       And, as you just heard, I represent the SEU

9          Officers.     And I'm going to be leading off the questioning

10         today.

11              A.      Okay.

12              Q.      If at any time you don't understand my question

13         or would like for me to repeat it or rephrase it, will you

14         let me know that?

15              A.      Yes, ma'am.

16              Q.      And we can take breaks any time.

17              A.      Okay.

18              Q.      The only request would be if there's a pending

19         question, that you answer the question.             And then we can

20         take a break.

21              A.      Yes, ma'am.

22              Q.      Okay.   What did you do to prepare for your

23         deposition today?

24              A.      I just went over everything and made sure my mind

25         was clear.

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1               Q.     Without telling -- I assume you met with your

2          attorney?

3               A.     Yes.

4               Q.     Without telling me anything that you discussed

5          with your attorney, did you review any documents?

6               A.     No.

7               Q.     Did you review any videos?

8               A.     Yes.

9               Q.     Were the videos that you reviewed the police body

10         cam videos?

11              A.     Yes.

12              Q.     Do you remember which ones you reviewed?

13              A.     Me coming inside the house.

14              Q.     Any others?

15              A.     No, ma'am.

16              Q.     Have you ever given a deposition before?

17              A.     No, ma'am.

18              Q.     Have you ever had to testify for any reason?

19              A.     No, ma'am.

20              Q.     What is your date of birth?

21              A.     07-07-1979.

22              Q.     And your current name is Kenya Walton?

23              A.     Yes.

24              Q.     What are the other names that you've had either

25         due to marriage or --

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1                A.    Oh, Kenya Dillard.

2                Q.    What was your maiden name?

3                A.    Dillard.

4                Q.    Have you had any other last names other than

5          Dillard or Walton?

6                A.    No.

7                Q.    Have you, have you been married before?

8                A.    Yes.

9                Q.    How many times?

10               A.    Once.

11               Q.    And are you currently married?

12               A.    No.

13               Q.    Are you divorced?

14               A.    Yes.

15               Q.    Was that Mr. Walton?

16               A.    Yes.

17               Q.    Okay.      What is his full name?

18               A.    Reginald Glenn Walton.

19               Q.    When did you all get married?

20               A.    September the 14th.

21               Q.    Of what year?

22               A.    I'm not sure.

23               Q.    Approximately can you --

24               A.    I know -- let me see -- I want to say 7 or 8 I

25         think.

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1                Q.   Let me ask it this way -- do you remember how old

2          you were when you married Mr. Walton?

3                A.   I was like 27 or 28.

4                Q.   And when did you get divorced?

5                A.   May -- I know it was in May.             I'm not for sure

6          the date or the year.

7                Q.   How many years were you married?

8                A.   I think three or four.

9                Q.   Do you have children?

10               A.   Yes.

11               Q.   Could you please tell me the full names and ages

12         of your children.

13               A.   Sanaa, S-A-N-A-A, Regina Marie Walton.             She's now

14         17.   And then there's Kaleb, with a K, Trumaine Walton.

15         And he's 16.

16               Q.   Any others?

17               A.   No.

18               Q.   Where are you living currently?

19               A.   Whitakers, North Carolina.

20               Q.   What's your address there?

21               A.   10718 NC Highway 33.

22               Q.   How long have you lived at that address?

23               A.   Three months.

24               Q.   Where did you live before that?

25               A.   2020 Orchard Hollow Lane.

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1                  Q.   Was that in Raleigh?

2                  A.   Yes.

3                  Q.   When did you move into the 2020 Orchard Hollow

4          Lane?

5                  A.   It was June of 2021.

6                  Q.   Where did you live before that?

7                  A.   The Raleigh North address, 1628 Burgundy Street.

8                  Q.   When you -- well, let me re-ask that.

9                       When did you first start living at 1628 Burgundy?

10                 A.   September, I want to say September 12, 2017.

11                 Q.   And you moved out in June of 2021?

12                 A.   Uh-huh.

13                 Q.   And if you could just say yes --

14                 A.   Yes -- I'm sorry.

15                 Q.   That's okay.

16                      In May of 2020, you were living at Burgundy

17         Street?

18                 A.   Yes, ma'am.

19                 Q.   Who lived at that address with you in May of

20         2020?

21                 A.   It was Kamisha, Dyamond, Ziyel, Robert.

22                 Q.   Anyone else?

23                 A.   Z.G. was there.

24                 Q.   So Kamisha, Dyamond --

25                 A.   Yes.

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1               Q.     -- what is her relationship to you?

2               A.     Kamisha?

3               Q.     Yes.

4               A.     She's my daughter.

5               Q.     Okay.    When I asked you earlier about your

6          children, you told me about Sanaa and Kaleb.

7               A.     You asked were they by my husband.

8               Q.     Oh, okay.      Let me ask you about all your

9          children.

10              A.     Okay.

11              Q.     So with Mr. Walton, you have Sanaa -- am I saying

12         her name --

13              A.     Sanaa.

14              Q.     Sanaa.

15              A.     Yes, ma'am.

16              Q.     And Kaleb.

17              A.     Yes, ma'am.

18              Q.     And then tell me what other children you have.

19              A.     Oh, Kamisha, Dyamond, Ziyel, and Robert.

20              Q.     Kamisha's last name?

21              A.     Whitley.

22              Q.     And Dyamond's last name?

23              A.     Whitley.

24              Q.     And Ziyel?

25              A.     Whitley.

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1               Q.     And Robert?

2               A.     Whitley, Jr.

3               Q.     So Mr. Whitley, with Mr. Whitley you had four

4          children?

5               A.     Yes.

6               Q.     And are you still in a relationship with Mr.

7          Whitley?

8               A.     No.

9               Q.     But you were not married to Mr. Whitley?

10              A.     No.

11              Q.     What period of time were you in a relationship

12         with him?

13              A.     1998.

14              Q.     Until?

15              A.     2004.

16              Q.     And his first name is Robert?

17              A.     Yes.

18              Q.     So moving back to on May of 2020, living in the

19         home with you were Kamisha, Dyamond, Ziyel, and Robert, Jr.

20                     Is that a yes?

21              A.     Yes.

22              Q.     And you said Z.G. was there?

23              A.     Z.G. comes during the summer, spring break, and

24         every other weekend.

25              Q.     And is his last name G.?

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1               A.    Yes.

2               Q.    And why is it that he comes to stay with you

3          during those periods?

4               A.    That's Ziyel's best friend, Ziyel and Dyamond's

5          best friend.

6               Q.    So he comes and lives with you during summer and

7          spring break and every other weekend?

8               A.    Yes.

9               Q.    And where does he live the rest of the time?

10              A.    In Cary with his mom.          I don't know the physical

11         address.

12              Q.    What is his mom's name?

13              A.    I call her Felicia but it's Nanetta.

14              Q.    How do you know her?

15              A.    They used to live across the street in Raleigh

16         North before they moved.

17              Q.    Does she ever come and live with you?

18              A.    No.

19              Q.    So Z.G. -- Z.G.?

20              A.    Z.G.

21              Q.    Z.G.

22              A.    Yes.

23              Q.    When you say he was there in May of 2020, was he

24         living with you during that period?             Or was he just there

25         for, you know, part of a day?

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1                  A.   No.     He was there.

2                  Q.   Living there?

3                  A.   Yes.

4                  Q.   Okay.      Are you currently working?

5                  A.   Yes.

6                  Q.   How do you -- what do you do for work?

7                  A.   I drive the special needs kids for Wake County

8          Public Schools.

9                  Q.   How many hours a week is that?

10                 A.   Approximately, anywhere from 48 to 50 hours a

11         week.

12                 Q.   How long have you had that job?

13                 A.   Four years.

14                 Q.   What did you do before that?

15                 A.   I drove for Evan Transportation.

16                 Q.   What type of driving?

17                 A.   It was the same.

18                 Q.   School bus?

19                 A.   At that time, I wasn't driving the bus, I was

20         driving the vans.

21                 Q.   And how long did you work for Evan

22         Transportation?

23                 A.   They went out of business.                I think I was there

24         -- I want to -- I think I was there like four or five

25         months.

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1               Q.     What type of work did you do before that?

2               A.     I was a store manager at City Trends.

3               Q.     I'm sorry -- at where?

4               A.     City Trends.

5               Q.     And how long did you work at City Trends?

6               A.     About two years.

7               Q.     And how about before that?

8               A.     The Shoe Department.

9               Q.     For which store?

10              A.     New Hope.

11              Q.     So in May of 2020, were you driving school buses

12         for Wake County?

13              A.     I was at -- we were still employed, but it was

14         COVID.    So we were shutdown.

15              Q.     Were you getting a paycheck?

16              A.     Unemployment, yes.

17              Q.     Okay.   So you were not able to work as a bus

18         driver obviously when the schools were shut down?

19              A.     No, ma'am.

20              Q.     What is your educational background?

21              A.     High school.

22              Q.     Where did you go to high school?

23              A.     Sanderson High.

24              Q.     In Raleigh?

25              A.     Yes, ma'am.

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1                Q.     Did you graduate?

2                A.     No.

3                Q.     What was the last year that you attended?

4                A.     I have no idea.

5                Q.     How old were you?

6                A.     17.

7                Q.     And why did you leave high school?

8                A.     My mom made me.

9                Q.     Why was that?

10               A.     I had no idea.

11               Q.     Okay.    Did you grow up in Raleigh?

12               A.     Yes.

13               Q.     Is your mother still living?

14               A.     Yes.

15               Q.     Where does she live?

16               A.     Macon -- she's in Raleigh, she's off Macon Drive

17         or Street.

18               Q.     What is your mother's name?

19               A.     Vickie Holliday.

20               Q.     And she made you leave high school when you were

21         17?

22               A.     Yes.

23               Q.     She didn't give you an explanation?

24               A.     No.

25               Q.     When you were living in the address on Burgundy

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1          Street, 1628 Burgundy Street, was that subsidized housing?

2                  A.   Yes.

3                  Q.   How, how was it subsidized?

4                  A.   It was funded through HUD.            But I didn't go

5          through their program.          I went through, I had a Section 8

6          voucher.

7                  Q.   And how did you come to have that Section 8

8          voucher?

9                  A.   When I got, when Reggie and I separated, I filed

10         for Section 8.

11                 Q.   And did you already tell me what year that was?

12                 A.   No.    I didn't.

13                 Q.   Do you know when it was?

14                 A.   No.    I don't.

15                 Q.   I think you said it was --

16                 A.   We divorced, I mean we divorced in May.

17                 Q.   Right.

18                 A.   But we were separated for about a little over a

19         year.

20                 Q.   So how much did you have to pay in rent when you

21         were living at 1628 Burgundy Street?

22                 A.   It was 6, it was 614.

23                 Q.   A month?

24                 A.   Yes.

25                 Q.   Was that true during the entire time you lived

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1          there?

2               A.    No.     Because when I first moved there, I was in

3          school and working.       So at first -- I don't remember how

4          much it was.      But once I finished Wake Tech, it went, and I

5          was working and wasn't on unemployment, it was based off my

6          income.

7               Q.    Where were you going to school while you were

8          working?

9               A.    Wake Tech.

10              Q.    What were you studying at Wake Tech?

11              A.    My GED.

12              Q.    And did you get your GED?

13              A.    Yes.

14              Q.    When did you get that?

15              A.    I don't remember the date.

16              Q.    Sometime while you were living at Burgundy?

17              A.    Yes.     It was.

18              Q.    And the amount of rent that you paid was based on

19         the amount of income that you had?

20              A.    Yes.

21              Q.    Can you describe the neighborhood when you lived

22         at 1628 Burgundy, what it was like?

23              A.    I didn't go around the neighborhood, so I

24         can't -- I know the part I lived at wasn't as terrible as

25         the top.

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1                 Q.   What do you mean by that?

2                 A.   The top was rough.

3                 Q.   When you say the top, can you describe what you

4          mean by that?

5                 A.   I lived at the bottom of Burgundy Street.

6                      The top of Burgundy Street in the circle and

7          towards the store and across the street from Raleigh

8          Boulevard was the really, really rough part.

9                 Q.   And what do you mean by rough?

10                A.   Shooting, fighting.

11                Q.   Were you aware of anybody selling drugs in that

12         neighborhood?

13                A.   No.

14                Q.   Was there enough shooting and fighting that made

15         you scared to go in that part of the neighborhood up at the

16         top?

17                A.   I didn't go up in the top at all.

18                Q.   Is that because it was rough?

19                A.   I just had no reason to go.

20                Q.   Did you tell your kids anything about where to go

21         and not go?

22                A.   When I first moved there, my kids didn't move

23         with me.

24                Q.   They did not go with you at first?

25                A.   Huh-huh.    No, ma'am.

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1               Q.    Where were they?

2               A.    With their dad.

3               Q.    When did your kids move to live with you?

4               A.    The last year I was there, 2020, 2019.

5               Q.    How did it come to be that the kids moved away

6          from their dad and in with you?

7               A.    I was almost finished school, and I was planning

8          on moving anyway.

9               Q.    Planning on moving away from Burgundy?

10              A.    Yes.

11              Q.    So when your kids came to live with you, did they

12         all come at the same time?

13              A.    Yes.

14              Q.    Where were your two children with Mr. Walton

15         living when you moved --

16              A.    With Mr. Walton.

17              Q.    Okay.     So all kids were living with their dads?

18              A.    Yes.

19              Q.    And then when you moved into Burgundy, did all of

20         the kids come live with you in 2019 or 2020?

21              A.    No.     Sanaa and Kaleb stayed with dad.

22              Q.    So all of your kids with Mr. Whitley came and

23         lived with you at the same time?

24              A.    Yes.

25              Q.    And when they came and lived with you, did you

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1          give them any instructions about where they should or

2          shouldn't go in the neighborhood?

3               A.      No.

4               Q.      Did you ever witness any violence in the

5          neighborhood?

6               A.      No.

7               Q.      But did you hear about violence in the

8          neighborhood?

9               A.      Only when the cops would come to the door and ask

10         questions.

11              Q.      How often would that happen?

12              A.      I can count like on my hands probably once.

13              Q.      Do you remember what types of questions they

14         asked?

15              A.      Did we see anything, did we hear anything.

16              Q.      Did you know what they were investigating?

17              A.      A shooting.

18              Q.      Had you seen or heard anything in connection with

19         the shooting?

20              A.      Just the gunshots, but I didn't witness anything.

21              Q.      Do you remember when that was?

22              A.      I don't remember.

23              Q.      Do you remember if it was before May of 2020?

24              A.      It was after.

25              Q.      Before May of 2020, had you seen police in the

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1          neighborhood?

2                 A.   Yes.

3                 Q.   How often would you see them in the neighborhood?

4                 A.   Every day.

5                 Q.   Every day?      And were these patrol cars that you

6          saw?

7                 A.   Sometimes patrol or something probably had

8          happened.

9                 Q.   I'm sorry -- I didn't hear what you said.

10                A.   I said sometimes patrol cars or sometimes

11         probably something had happened.

12                Q.   Something had happened and they were called to

13         the neighborhood?

14                A.   Yes.

15                Q.   Do you remember any reasons for them being called

16         to the neighborhood other than the shooting that you

17         already described?

18                A.   Yeah.

19                Q.   What do you recall?

20                A.   I mean if they be fighting, you'll see them come

21         out.    But other than that --

22                Q.   Did you ever see police just cruising around the

23         neighborhood?

24                A.   Yes.

25                Q.   And were you, were you glad that they were there?

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1               A.    Yes.

2               Q.    We're going to talk a little bit about the

3          warrant, the search and the warrant involved in this case.

4                     And I think you know that the officers who were

5          involved in executing the warrant are called SEU Officers.

6                     Are you familiar with that term?

7               A.    Yes.

8               Q.    Had you ever seen any SEU Officers in the

9          neighborhood prior to May of 2020?

10              A.    No.

11              Q.    How about after May of 2020?

12              A.    No.

13              Q.    And you said you're not aware of any drugs being

14         sold in the neighborhood?

15              A.    No.

16              Q.    Did you ever hear rumors or talk about whether

17         there was drugs?

18              A.    I didn't communicate with nobody in the

19         neighborhood.

20              Q.    Okay.    Kept to yourself?

21              A.    Yes.

22              Q.    Did you come to know your next door neighbor,

23         Yolanda Irving?

24              A.    Yes.

25              Q.    Did you communicate with Ms. Irving?

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1               A.    Yes.

2               Q.    When did you start becoming friendly or --

3               A.    I think the last two years I was there.

4               Q.    Other than Ms. Irving, did you communicate with

5          any of your neighbors?

6               A.    My ex-husband's cousin stayed across the street.

7          It was hey, bye.      But like as far as communication, hanging

8          out, no.

9               Q.    Your ex-husband's cousin --

10              A.    Yes.

11              Q.    -- was across the street?

12              A.    Yes.

13              Q.    And you didn't hang out?

14              A.    Huh-huh.

15              Q.    That's a no?

16              A.    No.

17              Q.    Did you ever converse with this ex-husband's

18         cousin?

19              A.    No.

20              Q.    Did you not have a good relationship with that

21         person?

22              A.    He just told me not to, not to get, I mean I

23         guess he told me not to have a conversation with her.

24         She's not the type of who I want to talk to.

25              Q.    Your ex-husband told you that?

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1               A.     Yes.

2               Q.     And I think you said her name?

3               A.     No.     I didn't say her name.         Her name is Tiffany

4          Lyons.

5               Q.     Okay.     So you didn't communicate with Ms. Lyons?

6               A.     No.

7               Q.     Tell me a little bit about how you got to know

8          Yolanda Irving.

9               A.     The kids.

10              Q.     Did your kids hang out with her kids?

11              A.     Yes.

12              Q.     Were they friends at some point?

13              A.     Yes.     They, they still are, yes.

14              Q.     Did you become friends with Ms. Irving?

15              A.     Yes.

16              Q.     What types of things would you and she do

17         together?

18              A.     Go shopping.       Sometimes I watch -- if I leave,

19         she'll watch my house, I'll watch hers.

20                     When the kids -- the kids will go to her house,

21         her kids come to my house.          If they wanted to go somewhere,

22         if I wasn't there, she'd take them.              I'd take them if she

23         wasn't home.

24              Q.     And the kids are still friends with each other?

25              A.     Yes.

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1               Q.    Which children are the, are friends?

2               A.    J.C., I forget the baby boy's name, it's J.C., I

3          just saw him the other day, it's the baby boy, and her

4          oldest son Xavier -- J.I.

5               Q.    J.I. and Xavier --

6               A.    Yes, ma'am.

7               Q.    -- are friends with?

8               A.    Friends with all the kids.

9               Q.    Okay.    And they're still friends?

10              A.    Yes.

11              Q.    Are you and Ms. Irving still friends?

12              A.    We're cordial.

13              Q.    I know she had her deposition taken yesterday.

14         And she mentioned something about a social club that you

15         all started.

16              A.    Yes.

17              Q.    Can you tell me about that?

18              A.    We started our social club.            It was going okay.

19         She broke some of the protocol.           And it got back.

20                    When it got back, we, the head people, basically

21         the club had to vote her out.

22                    And she just didn't say anything to us.             And we

23         didn't say anything to her.

24              Q.    Tell me about the social club.             What was the

25         purpose behind the club?

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1               A.      It's giving back to the community.

2               Q.      In what way?

3               A.      Feeding, back to school drives, toy drives,

4          visiting the group homes, stuff like that.

5               Q.      How many people were in the club?

6               A.      It was, it was seven.

7               Q.      Did they all live in the neighborhood with you?

8               A.      No.

9               Q.      Where did the people live who were not on

10         Burgundy?

11              A.      One girl lived on Burgundy.            Shaquora stayed in

12         Knightdale.        Heaven, I'm not for sure where she stayed.

13         Zierra stayed off Pool Road.            And, of course, Yolanda and

14         I, and another girl named Tee, she stayed with Yolanda.

15              Q.      How did you all know each other?

16              A.      As far as the girls?

17              Q.      Yeah, the people who were in the club with you.

18              A.      Oh, Shaquora and Zierra worked with me at City

19         Trends.     And CeCe, she stayed, she stayed, she stayed well

20         a door down from me and Yolanda.             And Tee, I met her

21         through Yolanda because she stayed with Yolanda.               I think

22         they was co-workers or something.

23              Q.      So Tee stayed with Yolanda?

24              A.      Yes.

25              Q.      And who was it who lived a door down?

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1                  A.   We called her CeCe.

2                  Q.   So she lived on Burgundy also?

3                  A.   Yes.

4                  Q.   Who started the club?

5                  A.   I did.

6                  Q.   So did you invite the others to join you in the

7          club?

8                  A.   Yolanda wanted to do it, but she was scared to do

9          it, didn't know how.         So I told her I will get all the

10         paperwork.     She said that she didn't want to be the

11         president.     So I became the president.             Because in a social

12         club, the vice president controls the club.                 So that's how

13         it went.

14                 Q.   What was the name of the club?

15                 A.   Dream Crushers SE.

16                 Q.   And when you say paperwork, what type of

17         paperwork did you have to do?

18                 A.   We had to do bylaws and get it registered with

19         the state.

20                 Q.   And you took care of that?

21                 A.   I took care of the bylaws and the paperwork.              But

22         Yolanda was supposed to file and didn't file.

23                 Q.   Was she the vice president?

24                 A.   Yes.

25                 Q.   And what was CeCe's full name?

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1               A.      I just remember her, now I do remember her last

2          name, it's Carina Welch.

3               Q.      Welch?

4               A.      Yes.

5               Q.      Are you still in touch with her?

6               A.      I see her every now and then.             She still stays --

7          I bump into her.        It's a hey, bye, how are you doing.

8               Q.      Is the club still in existence?

9               A.      No.

10              Q.      When did you stop the club?

11              A.      Not for sure.       Not for sure.

12              Q.      How long did the club, was the club in existence

13         from start to finish?

14              A.      About six months.

15              Q.      Okay.    And I think you said that Yolanda broke

16         protocol?

17              A.      Yes.

18              Q.      What do you mean by that?

19              A.      Certain stuff in the club and then 919 Bosses

20         we're not allowed to do as females.               And it was broken.

21         And it came to my attention.

22                      And when I asked her, she basically distanced

23         herself from everybody.          And we had to vote her out.

24              Q.      What was it specifically that was brought to your

25         attention?

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1                  A.   Do I have to say?      We're not allowed to sleep or

2          fraternize with the men.

3                  Q.   In the club or generally?

4                  A.   Generally.

5                  Q.   And that was a rule that you all imposed on

6          yourselves?

7                  A.   It's part of 919 Bosses.

8                  Q.   I'm not familiar with that.

9                  A.   919 Bosses, like they're our -- it's Outcast and

10         919 Bosses.     919 Bosses is something like Hell's Angels or

11         something like that.      So they bless us in.           Certain things

12         you can and cannot do.

13                 Q.   And one of the things you can't do is sleep with

14         the men?

15                 A.   Yeah.

16                 Q.   And I guess somebody told you or it was brought

17         to your attention that Yolanda had broken that rule?

18                 A.   Yeah.

19                 Q.   Who was it who told you that she had broken that

20         rule?

21                 A.   It was the president from the 919 Bosses, she

22         slept with multiple guys.

23                 Q.   And who is the president of --

24                 A.   At the time, it was Keith.         I don't know his last

25         name.

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1               Q.    And Keith told you that Yolanda had slept with

2          multiple men?

3               A.    It was him at first, but it came back.

4               Q.    And when you confronted her about it, what did

5          she do?

6               A.    She said it wasn't true.

7               Q.    Did you believe her?

8               A.    Yeah.

9               Q.    So why did you vote her out of the club?

10              A.    Because she started getting -- we had to.               And

11         then she ended up getting a death threat on her door.                   They

12         started calling her certain names.

13                    And like we already have club names that, we

14         don't go through our, we don't go with our government.

15                    So she had gained a reputation.               And like one

16         person gets a reputation, the whole club gets a reputation.

17              Q.    What do you, what do you recall about the death

18         threat?

19              A.    She said a guy said that he was going to kill her

20         in front of her kids.

21              Q.    Who was it who threatened her like that?

22              A.    That part I don't know.

23              Q.    So you voted her out because you thought that her

24         reputation would be bad for your club's reputation?

25              A.    It, it was.

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1                  Q.    And how did she react to being voted out?

2                  A.    She had already started distancing herself from

3          us.

4                  Q.    How would you describe your relationship with

5          Yolanda after you had confronted her about breaking that

6          rule?

7                  A.    She just started distancing herself.            I didn't

8          think nothing much of it, nothing more, nothing less.

9                  Q.    Did your friend, your kids remain friends?

10                 A.    Yes.

11                 Q.    Did you still like drive her kids if they needed

12         a ride and that --

13                 A.    She did the same.

14                 Q.    Okay.    So the relationship between the kids

15         didn't change?

16                 A.    No, ma'am.

17                 Q.    Just you and she had a more distant relationship?

18                 A.    Yes.

19                 Q.    During the time that you were friendly with

20         Yolanda before you became more distant, did you ever talk

21         with her about the neighborhood?

22                 A.    I think J.C. had got hurt.            That's something I

23         recall.      But as far as the neighborhood, she never said

24         anything, not in my knowledge, no.

25                       We always talked about work or us going to travel

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1          or when she go out of town, stuff like that.                It wasn't

2          never about the neighborhood.

3               Q.      Before May of 2020, had you ever had any

4          conversations with your children about how they should

5          interact with the police if they encountered police?

6               A.      Yes.

7               Q.      What had you told your children?

8               A.      I did my background on Leesville High School

9          because I didn't want them to go to Leesville.

10                      It's a card that I gave them, a blue little card

11         that I gave my boys, which was Ziyel, Dyamond, and Robert,

12         when they started high school, their rights, what the

13         police officer is supposed to say to them, the dos or

14         don'ts, or how they're supposed to be treated.

15              Q.      That was a card?

16              A.      Yes.

17              Q.      Do you remember where you got it?

18              A.      The courthouse.

19              Q.      And did you give one of those cards to each of

20         your boys?

21              A.      Yes.

22              Q.      So basically it was to inform them about their

23         rights?

24              A.      Yes.

25              Q.      And did you ever have any conversations with them

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1          about how they should interact with if approached or

2          encountered by a police officer?

3               A.     Yes.    It was, everything was all on that card.

4               Q.     Do you remember anything about what it said on

5          the card?

6               A.     About being Mirandized, basically the rules and,

7          I mean not the rules, about their rights like they do and

8          they don't have, what to do if they are approached, follow

9          directions, stuff like that.

10              Q.     Is there a reason that you gave the card to the

11         boys and not the girls?

12              A.     Yes.

13              Q.     What's that?

14              A.     Because I fear for my boys more than I fear for

15         my girls.

16              Q.     Did you ever have any other conversations with

17         your boys about interacting with the police?

18              A.     No.

19              Q.     What was it that you were worried about about

20         Leesville High School?

21              A.     They had a bad reputation.

22              Q.     And did they end up going there?

23              A.     Yes.    My mom talked me into it.

24              Q.     Did they encounter any problems at Leesville?

25              A.     Yes.

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1               Q.      Tell me about that.

2               A.      Their first, first couple weeks of school, Ziyel

3          and Dyamond and Robert got spit on.               It was a little boy

4          who always took their bookbag and threw it across the

5          courtyard.

6               Q.      Were they all there at the same time?

7               A.      Yes.

8               Q.      So these were fellow students, other students who

9          were mistreating them?

10              A.      It was just one.

11              Q.      One?    And the student was spitting on and

12         throwing their bookbags?

13              A.      Yes.

14              Q.      Did you talk to the principal or anybody at the

15         school about it?

16              A.      The principal and the teachers and the guidance

17         counselor was told.

18              Q.      And was it resolved?

19              A.      No.

20              Q.      What did you do?

21              A.      The boys got in an incident at school.

22              Q.      What type of incident?

23              A.      The little boy punched Ziyel.

24              Q.      And what did Ziyel do?

25              A.      They got in a fight that morning which, that

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1          happened.

2                      Then when they got back to lunch, another, they

3          got, the little boy approached them again, approached him

4          and Dyamond.       And him and Dyamond and the little boy got in

5          a fight.

6               Q.     So two different fights?

7               A.     Yes.

8               Q.     One with Ziyel and one with Ziyel and Dyamond?

9               A.     Yes.

10              Q.     And were they disciplined as a result of getting

11         in a fight?

12              A.     Yes.

13              Q.     What, how were they disciplined?

14              A.     Ziyel was suspended -- first, Dyamond was

15         suspended for two weeks.          Ziyel was suspended for four

16         weeks.

17              Q.     Did they go back to school after that?

18              A.     Ziyel did not.

19              Q.     What did he do?

20              A.     When Robert went back to school the next day, the

21         little boy's friends retaliated and jumped on Robert.

22              Q.     And did Robert get in a fight with this boy?

23              A.     Robert's not a fighter.

24              Q.     The boy just --

25              A.     His friends jumped on Robert --

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1               Q.      Okay.

2               A.      -- in the cafeteria.

3                       Then they, later on that day, they end up, I

4          think it's Dyamond, they, the friends messed with Dyamond

5          on Instagram and met Dyamond, and met Dyamond and Ziyel in

6          the neighborhood they was tearing down in Washington

7          Terrace.

8                       I'm not for sure who sent Kamisha the location

9          that saw the boys over there, but it was sent to Kamisha.

10                      By the time we got over there, Dyamond and Ziyel

11         had fought like all six of the boys.

12              Q.      So these other boys messaged your sons --

13              A.      Yes.

14              Q.      -- to meet them at this location?

15              A.      Yes.

16              Q.      And your sons went there --

17              A.      Yes.

18              Q.      -- to fight?

19              A.      Yes.

20              Q.      What happened as a result of that fight?

21              A.      Ziyel got suspended for the rest of the year.

22         And Dyamond get suspended, an extra suspension of another

23         two weeks.

24              Q.      Was Robert ever disciplined as a result of any --

25              A.      Robert is not a fighter.

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1                Q.     So he didn't get in fights?

2                A.     No.

3                Q.     And then I think you said Ziyel did not go back

4          to school.

5                A.     He went to an alternative school.

6                Q.     Where was that?

7                A.     Infinity.

8                Q.     Infinity?        Was that a high school?

9                A.     Yes.

10               Q.     Did he graduate?

11               A.     No.

12               Q.     Is he --

13               A.     He's not graduated.            He's still in school.

14               Q.     -- still is school?            Is he still in the same

15         school?

16               A.     No.

17               Q.     Where is he now?

18               A.     Starting in January, he will be in Wake Tech.

19               Q.     And Dyamond went back to Leesville?

20               A.     Dyamond graduated Leesville.

21               Q.     Okay.      And what about Robert?

22               A.     Robert is in Athens.             But he's, he will be

23         starting Wake Tech as well.

24               Q.     In January?

25               A.     Yes.

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1                Q.    Why is he going to Wake Tech?

2                A.    Which one?

3                Q.    Robert.

4                A.    To be with Ziyel.

5                Q.    Why is Ziyel going to Wake Tech?

6                A.    He can't do a large setting.

7                Q.    Were any of your boys ever disciplined for

8          anything else that happened at school other than what

9          you've already told me?

10               A.    No.

11               Q.    How about your daughters --

12               A.    No.

13               Q.    -- have they ever had trouble at --

14               A.    Yes.

15               Q.    -- school?

16               A.    Yes.     Sanaa.

17               Q.    Tell me about that.

18               A.    A girl kept bullying her.

19               Q.    Did she get in a fight?

20               A.    Yes.

21               Q.    And was she disciplined?

22               A.    She was suspended.

23               Q.    Anything else involving your daughters in terms

24         of school and discipline?

25               A.    Let me think.          I think Kamisha got suspended

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1          once.

2                  Q.   Do you remember what that was for?

3                  A.   I don't recall the whole incident.             I just

4          remember she got in a fight in school.                But her dad handled

5          that.

6                  Q.   Have any of your kids ever been arrested?

7                  A.   Not arrested, no.

8                  Q.   Have any of your kids ever been detained or

9          questioned?

10                 A.   Yes.

11                 Q.   Can you tell me about that?

12                 A.   Ziyel.

13                 Q.   Tell me about what happened involving Ziyel.

14                 A.   He asked could he go to the YMCA to go swimming.

15         I said yes.        A few hours went by.        I just had a bad

16         feeling.

17                      Then I just got a call from the police, said the

18         car that they was in was a stolen car.

19                 Q.   Who, who, who was driving the car?

20                 A.   I have no idea.

21                 Q.   It wasn't Ziyel?

22                 A.   No.     He said Ziyel was the only one who didn't

23         run and cooperated.

24                 Q.   When was this, what year?

25                 A.   This was I think it was June, not June, July of

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1          last year.

2               Q.      July of 2021?

3               A.      Yes.

4               Q.      Did you have to go get Ziyel?

5               A.      Yes.

6               Q.      Where was he?

7               A.      At a substation off, off of Western Boulevard.             I

8          forgot the name of the street, how you call it.

9               Q.      He wasn't arrested, he was just -- you had to go

10         pick him up from there?

11              A.      Yes.

12              Q.      Do you know who was in the car with Ziyel?

13              A.      I told him and Z.G. they could go swimming.

14                      THE REPORTER:       I'm sorry -- I told --

15                      THE WITNESS:       Him and Z.G. they can go swimming.

16                      THE REPORTER:       Thank you.

17         BY MS. PACKER:

18              Q.      So was Z.G. with him?

19              A.      Yes.

20              Q.      Did you pick him up as well?

21              A.      His mom had to.

22              Q.      Do you know anybody else who was in the car other

23         than Z.G. and Ziyel?

24              A.      The other little boys I didn't know.           I knew, I

25         didn't know him, but I knew it was Z.G.'s cousin.

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1               Q.     Do you know if anybody was charged with stealing

2          that car?

3               A.     I'm not for sure.         I'm pretty sure, but I'm not

4          for sure.

5               Q.     But certainly it wasn't your son?

6               A.     No.

7               Q.     Or Z.G.?

8               A.     No.

9               Q.     Do you know if it was Z.G.'s cousin?

10              A.     I'm not for sure.         Because after I went and got

11         Ziyel, talked to the officer, there wasn't nothing more,

12         nothing less.

13              Q.     And I think you said the officer said your son

14         was cooperating?

15              A.     Yes.

16              Q.     What did the officer tell you about how your son

17         cooperated?

18              A.     He said everybody jumped out of the car and ran.

19         He said Ziyel jumped out of the car, but he didn't run.

20              Q.     And did he say anything else?

21              A.     No.    He said he just answered all his questions.

22         And that was it.

23              Q.     So he said that your son answered his questions?

24              A.     Yes.

25              Q.     Are there any other occasions where any of your

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1          children have been detained by the police to your

2          knowledge?

3               A.      No.

4               Q.      I'm going to talk to you now about the day of the

5          search warrant, which was May 21, 2020.

6               A.      Yes, ma'am.

7               Q.      As I understand it, you were not home when the

8          police first arrived.         Is that right?

9               A.      No, ma'am.

10              Q.      I asked a bad question.

11                      Were you home?

12              A.      No.

13              Q.      Okay.    Do you remember where you were?

14              A.      Yes.

15              Q.      Where were you?

16              A.      I was up the street at Food Lion.

17              Q.      Okay.    Had you driven?

18              A.      Yes.

19              Q.      Did anybody go to Food Lion with you?

20              A.      I was by myself.

21              Q.      Had you bought groceries?

22              A.      I was going to get something to cook dinner.

23              Q.      Did you buy some food and --

24              A.      Yeah.    I got to that part, yes.

25              Q.      And then what happened when you arrived home?

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1               A.    Well, I got a telephone call as I was walking out

2          of the store.      The guy I was dating at the time, his sister

3          said there was a whole lot of cops at the door.             And I was

4          already on my way walking out the door of the store.

5               Q.    So somebody called you on your cell phone as you

6          were leaving Food Lion?

7               A.    Yes.

8               Q.    And you said it was the sister of the guy you

9          were dating.      Is that right?

10              A.    Yes.

11              Q.    Who were you dating at the time?

12              A.    Brian Gunter.

13              Q.    And what -- Brian Hunter?

14              A.    Gunter.

15              Q.    Gunter?

16              A.    Yes.

17              Q.    And what was Brian's sister's name?

18              A.    Aries.     I don't know her last name.         It's not the

19         same as his.

20              Q.    How did she know that there were police at your

21         place?

22              A.    She was, she was out there at a friend's house.

23              Q.    So she could see them?

24              A.    Yeah.

25              Q.    What did she tell you?

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1                 A.   She said something's going on at your house.

2          There's a whole bunch of police officers.

3                 Q.   What did you do then?

4                 A.   I told her I was on my way home.

5                 Q.   Did you drive your car --

6                 A.   Yes.

7                 Q.   -- home?

8                      And did you come in the back door?

9                 A.   I always came in the back door.

10                Q.   Where did you park?

11                A.   In the back beside Yolanda's car, by the trash

12         can.

13                Q.   Tell me what you saw as you were driving back to

14         your house from Food Lion.

15                A.   Honestly, I didn't -- I just -- only time I seen

16         the cops -- when I backed my car in, I seen the cops at

17         Yolanda's door.

18                     And I seen another officer standing like near

19         with a gun.    And he walked to my car and asked me what

20         apartment did I stay in.

21                     And I told him the first apartment.

22                     He told me to get out and follow him inside the

23         house.

24                Q.   Can you describe that officer who met you at your

25         car?

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1                 A.   What do you mean by describe?

2                 Q.   What race he was?

3                 A.   He was Caucasian.

4                 Q.   What was he wearing?

5                 A.   He had an ATF vest on.          He had a helmet or

6          something on his head.         And he had a big old gun.

7                 Q.   So as you parked your car, he approached your

8          car.    And did you have to role down your window?

9                 A.   Yes.

10                Q.   And you did that?

11                A.   Yes.

12                Q.   And then he asked you where you, which apartment

13         you lived in?

14                A.   Uh-huh.

15                Q.   Is that a yes?

16                A.   Yes.

17                Q.   And you told him which one.            And he asked you to

18         go with him?

19                A.   Yes.    He said you can get out and come in the

20         house with me.

21                Q.   Did he say anything else to you?

22                A.   No.

23                Q.   Did you say anything else to him?

24                A.   No.

25                Q.   Can you describe him any more than you already

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1          have?        You said he was Caucasian.        Can you --

2                  A.      -- worried about my kids --

3                          THE REPORTER:    We've got to go one at a time, Ms.

4          Walton.

5                          THE WITNESS:    I'm sorry.

6                          THE REPORTER:    No, that's okay.           You're not used

7          to doing this.        But if you could wait until the question is

8          completely finished and then answer.

9                          THE WITNESS:    Okay.

10                         THE REPORTER:    Thank you.

11         BY MS. PACKER:

12                 Q.      Can you describe how old he was, how tall he was,

13         or anything like that?

14                 A.      I just know he was taller than me.             But other

15         than that, no, ma'am.

16                 Q.      So what happened after he asked you to come with

17         him?

18                 A.      I went in there, and I seen Dyamond and Z.G., and

19         I just went off.

20                 Q.      What do you mean by that?

21                 A.      I asked what was going on.         I asked why they was

22         in handcuffs.        And I started cussing.

23                         I asked them why did they run.          I asked my

24         daughter was she okay.          I asked Robert was he okay.

25                         I know I counted the ones and I was missing one.

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1               Q.    So let's back up and kind of go over that again.

2                     You saw Z.G. and Dyamond first.

3               A.    Sitting at the front door.

4               Q.    Okay.     And did you say they were handcuffed?

5               A.    No.     They was sitting on the thing.

6               Q.    They were sitting on the front step?

7               A.    Uh-huh, yes.

8               Q.    And what did you say to them?

9               A.    I asked them why did they run.

10              Q.    How did you know that they had run?

11              A.    When I walked in, Robert said they ran up the

12         steps.

13              Q.    Did they answer you?

14              A.    I don't recall.

15              Q.    So Robert told you that they had run up the

16         steps.

17              A.    Yes.

18              Q.    And you saw your daughter I think you said.

19              A.    Yes.

20              Q.    Which daughter?

21              A.    Kamisha.

22              Q.    And who were you missing?

23              A.    Ziyel.

24              Q.    Did you find out where he was?

25              A.    I asked once I counted my heads.               And he was the

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1          only one missing.

2               Q.    And did you find out -- did you ask where he was?

3               A.    Dyamond said he was next door.

4               Q.    And you said that you were cussing?

5               A.    Yes.

6               Q.    Were you cussing at anybody in particular?

7               A.    Yes.

8               Q.    Who?

9               A.    Dyamond and Z.G.

10              Q.    So you were mad at them?

11              A.    For running.

12              Q.    Okay.    Why is that?

13              A.    Because I always tell them never run.

14              Q.    You had told them already in the past they should

15         not run from the police?

16              A.    Yes.

17              Q.    Do you remember what happened next?

18              A.    I just remember making sure Kamisha was okay.

19                    Then somebody, I don't know which officer, I

20         don't recall what officer came in, and he asked about

21         counterfeit money.

22              Q.    What did he ask?

23              A.    He asked did I have counterfeit money.

24              Q.    What did you say?

25              A.    No.

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1               Q.    Do you recall any other questions that the

2          officers asked you?

3               A.    He asked could they search my house.

4               Q.    What did you say?

5               A.    Yes.

6               Q.    And this officer who asked about counterfeit

7          money and if they could search your house, can you describe

8          this officer?

9               A.    He was African-American with cornrows.

10              Q.    Do you know now who that officer was?

11              A.    Yes.

12              Q.    Who was it?

13              A.    The Abdullah guy.

14              Q.    Okay.    So you believe now that was Detective

15         Abdullah who asked you that?

16              A.    Yes.

17              Q.    And you gave Detective Abdullah permission to

18         search your house?

19              A.    Yes.

20              Q.    Did they then search your house?

21              A.    Yes.

22              Q.    Did they find anything --

23              A.    No.

24              Q.    -- as a result of the search?

25                    What do you recall happening next?

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1               A.    Then they went out the back door.              Then they said

2          something about heroine.

3                     And they said that a guy went through the attic

4          of Yolanda's house and I guess the attics were attached.

5          I'm not for sure about the attics being attached.

6               Q.    But you understood that they, the police officers

7          were telling you that somebody had gone through the attic

8          of Yolanda's house?

9               A.    (No audible response)

10              Q.    And you said -- you nodded yes?

11              A.    Yes.    I'm sorry.

12              Q.    Do you recall anything else they said about that?

13              A.    No.

14              Q.    What happened next?

15              A.    I sat in there with the kids.

16              Q.    You sat inside with the kids while they searched

17         your house?

18              A.    Yes.

19              Q.    And how long did that take?

20              A.    Not long.

21              Q.    What happened when they had completed their

22         search?

23              A.    They just told me to sit tight.

24              Q.    And at some point, did they finish?

25              A.    Yes.

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1               Q.    And what did they tell you then?

2               A.    Nothing.

3               Q.    Did they tell you they were done or they were

4          leaving?

5               A.    Nothing.

6               Q.    Did they just leave?

7               A.    Yes.    There was still an officer in the living

8          room with us.

9               Q.    And can you describe the officer who was staying

10         in the living room with you?

11              A.    It was a Caucasian male.

12              Q.    Was he wearing the vest and helmet?

13              A.    Yes.

14              Q.    Did you have any conversation with him?

15              A.    I asked him what was going on.             He said that

16         they'll tell me once it was done.

17              Q.    Any other conversation with him?

18              A.    No.

19              Q.    Were you having any conversation with your kids?

20              A.    Yeah.

21              Q.    What type of conversation were you having?

22              A.    Not with Ziyel and Z.G., they was on the steps.

23                    But I was talking to Kamisha and Robert, just

24         asking them was they okay because at the time Kamisha was

25         like six or seven months pregnant.

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1               Q.    And did they tell you they were okay?

2               A.    Yes.

3               Q.    Did you make any phone calls or receive any phone

4          calls during this time?

5               A.    While the officers are there?

6               Q.    Yes.

7               A.    Not -- like towards the end I did.

8               Q.    Who did you call or did --

9               A.    Ziyel was put on Instagram in handcuffs.                And my

10         aunt saw it.      My aunt called my mom, my sisters.             And it

11         went from there.

12              Q.    Who put Ziyel's photo on Instagram?

13              A.    I think it was J.I.

14              Q.    The next-door neighbor?

15              A.    Yes.

16              Q.    How did you know that?

17              A.    It was told from one of the kids.

18              Q.    And you started getting calls from your family?

19              A.    My mom asked what was going on.                By that time,

20         they was on their way there.

21              Q.    Were you angry about him being put on Instagram?

22              A.    Yes.

23              Q.    So you think the people that you spoke with on

24         the phone would have been -- you spoke with your mom on the

25         phone?

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1                       Is that a yes?

2                 A.    Yes, ma'am.

3                 Q.    And did you speak with your aunt?                Or did you

4          just hear that your aunt had seen the photo?

5                 A.    I didn't speak with my aunt.                My mom was like,

6          her and my sisters was on there, Ziyel was put on

7          Instagram.     And my aunt from Alaska saw it.                So --

8                 Q.    Did you ever see the Instagram post?

9                 A.    It was removed.

10                Q.    Before you saw it?

11                A.    Yes.

12                Q.    Did you request that it be removed?

13                A.    Yes -- while the officers was out there, I sure

14         did.

15                Q.    Who did you make that request to?

16                A.    The guy let me stick my head out the door.

17                      Yolanda and them was still in the house.

18                      I said whoever just put my son on Instagram in

19         handcuffs, take him off.

20                      Yolanda said something smart.                I said something

21         smart back.

22                      But the post was removed.

23                Q.    What did she say to you and what did you say to

24         her?

25                A.    She told me to wait until the police officers

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1          leave.    I told her I sure will.

2               Q.      Meaning what?

3               A.      I took it as I took it to be honest.

4               Q.      And how did you take it?

5               A.      That she wanted me to confront her and deal with

6          her after the police officers left.

7               Q.      But they did -- whoever put the post on Instagram

8          took it down?

9               A.      They did remove it, yeah.

10              Q.      After that exchange that you had with Yolanda,

11         did you go back to being cordial?

12              A.      By the time Ziyel was on Instagram -- and, like I

13         said, the post was removed -- my mom and my sisters were

14         heated.    So she had words back and forth.

15                      It was left alone until the next day.

16                      And I think I was going to Walmart if I recall.

17                      She was outside with her boyfriend, she was

18         saying stuff.     I let it go.

19                      When I got back, she was still outside with her

20         boyfriend.

21                      Then I walked up to her car.          I said the police

22         officers are not here no more.

23                      She shut the car door.

24              Q.      She was in her car?

25              A.      They were outside, standing outside of her car.

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1                 Q.   And so when you walked up to her, was she in the

2          car or out of the car?

3                 A.   She was out of the car.

4                 Q.   And you said the police officers are not here

5          now?

6                 A.   Yes.

7                 Q.   Meaning what?

8                 A.   Whatever she meant when she said when the

9          officers was there.

10                Q.   And then what did she do?

11                A.   She got in the car.         And her boyfriend got in the

12         other side of the car.         And they just sat in the car.

13                Q.   And what did you do?

14                A.   I went in the house.

15                Q.   What was her boyfriend's name?

16                A.   Don't know.

17                Q.   Did you know at some point in time?

18                     You never knew his name?

19                A.   No.

20                Q.   But you knew he was her boyfriend?

21                A.   Yes.

22                Q.   Did he live there with her?

23                A.   No.

24                Q.   Did you have any further dealings with Yolanda

25         about the Instagram post after that?

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1               A.    No.    No.   She -- not, not with her.

2                     She started, she started a club.               And one of the

3          club members asked me about it.

4                     And my response was even if it was her child or

5          not or if we got along or not, I wouldn't never put her

6          child on no kind of social media platform, not in handcuffs

7          or without her permission at all -- even if it was just a

8          regular picture.

9                     And they said they understood.

10              Q.    That was a different club than the one that we

11         talked about earlier?

12              A.    Yes.

13              Q.    Was it the same kind of club, social club?

14              A.    Yes.

15              Q.    Do you remember the name of it?

16              A.    Dirty Girl.

17              Q.    And you weren't involved with that club?

18              A.    No.

19              Q.    But you had a mutual acquaintance who was in it?

20              A.    I was part of Turning Heads Social Club.

21              Q.    Turning Heads?

22              A.    Yes.

23              Q.    Are you still involved with that?

24              A.    Yes.

25              Q.    And who was it who raised the subject of the

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1          Instagram post with you?

2               A.      Her name is Cher Petty.

3               Q.      And it's your understanding she was part of

4          Yolanda's social club?

5               A.      Yes.

6               Q.      Okay.    And is she part of yours also?

7               A.      No, ma'am.

8               Q.      Okay.    So going back to the search warrant.

9                       You were at the Food Lion or on your way to the

10         Food Lion when the police first arrived at your apartment.

11         Is that right?

12              A.      Yes.

13              Q.      So you did not see them approaching?

14              A.      No.

15              Q.      And you didn't see how they entered your

16         apartment?

17              A.      No.

18              Q.      But they didn't damage the door?

19              A.      No.

20              Q.      Did your kids tell you how they, anything about

21         how they entered the apartment?

22              A.      Yes.

23              Q.      What did they say?

24              A.      They was going out the door to meet J.I. --

25         because they was on the game all day.               And J.I. told them

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1          let's go outside on the front porch.

2                       And as they opened the door, they just seen a

3          whole bunch of cops coming with guns.               And they ran.

4               Q.      Is it your understanding that they ran into both

5          apartments, like the kids kind of, some ran in one and some

6          ran in the other?        Or do you know?

7               A.      They just told me how they ran in my house.            Not,

8          they didn't give no details about Yolanda's.

9               Q.      So when you arrived home, the people in your

10         house were Kamisha, Robert.            Those are the people who were

11         inside the house.

12              A.      Yes.

13              Q.      Is that right?

14                      And on the front steps were -- who did you say

15         was sitting --

16              A.      Z.G. and Dyamond.

17              Q.      Z.G. and Dyamond.         And was anybody else in your

18         apartment?

19              A.      No.

20              Q.      How long was it from when you arrived at your

21         house to the point where the detectives and officers left?

22              A.      I want to say a few hours.

23              Q.      Did they stick around after they had finished the

24         search and were kind of in the vicinity after they finished

25         searching?

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1               A.    An officer stayed inside.           Everybody basically

2          left at one time.     And there was some other stuff going on

3          inside of the parking lot, but they wouldn't let us see.

4               Q.    You were aware that they were doing something

5          else --

6               A.    In the parking lot.

7               Q.    But you didn't observe what it was?

8               A.    No, ma'am.

9               Q.    Do you know if they arrested anybody in the

10         neighborhood that day?

11              A.    No, ma'am.

12                    MS. PACKER:     Could we take a short break?

13                    THE VIDEOGRAPHER:        Off the record at 11:27.

14                    (Off the record)

15                    THE VIDEOGRAPHER:        Back on the record at 11:38.

16                    (Exhibit 8 is marked for identification.)

17         BY MS. PACKER:

18              Q.    Ms. Walton, I'm showing you what we've marked as

19         Exhibit 8, which is a photograph.

20                    Do you recognize this person?

21              A.    No.

22              Q.    And it says that his name is Marcus Van Irvin.

23                    Do you recognize that name?

24              A.    I recognize the name.

25              Q.    How do you know the name?

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1               A.    From when I had a meeting with the lawyers.

2               Q.    Okay.   So without telling me anything that you

3          learned from your lawyers, you're not familiar with Mr. Van

4          Irvin outside of the context of a meeting with your

5          lawyers?

6               A.    No, ma'am.

7               Q.    You don't remember seeing him in your

8          neighborhood?

9               A.    No, ma'am.

10              Q.    Okay.   I'm going to show you what we've marked as

11         Exhibit 9, which is another photograph.

12                    (Exhibit 9 is marked for identification.)

13         BY MS. PACKER:

14              Q.    Are you familiar with this person?

15              A.    No, ma'am.

16              Q.    And Exhibit 10 is a photo of the same person with

17         different hair style.

18                    (Exhibit 10 is marked for identification.)

19         BY MS. PACKER:

20              Q.    Are you familiar with him now that you see

21         another photograph?

22              A.    No, ma'am.

23              Q.    And the photos are labeled Dennis Leon Williams.

24                    Are you familiar with Mr. Williams --

25              A.    No, ma'am.

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1               Q.    -- by name?      Okay.

2                     After the detectives and police officers finished

3          up on May 21st and left, what did you do next?

4               A.    After they left the home?

5               Q.    Yes.

6               A.    Calmed my mom and sisters down.                Then they left.

7          Continued on my day.

8               Q.    So your mom and your sister actually drove over

9          to your place?

10              A.    Sisters, yes.

11              Q.    Sisters.     How many sisters?

12              A.    Four.

13              Q.    Did they all come?

14              A.    Yes.

15              Q.    What are their names?

16              A.    Shaquita Leach.

17              Q.    Okay.

18              A.    Tanzania Dillard, Morena Dillard, and Shansah

19         Dillard.

20              Q.    And all four of them and your mother came over to

21         your place --

22              A.    Yes.

23              Q.    -- because they had seen the photo on Instagram?

24              A.    Yes.

25              Q.    Why did they come over?

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1                  A.   My kids doesn't do anything.

2                  Q.   What do you mean by that?

3                  A.   Basically, we're personal, like we're very

4          personal.

5                  Q.   Private?

6                  A.   Very.

7                  Q.   And so they were upset by seeing this photo?

8                  A.   Yes.

9                  Q.   And what did they come over to your house to do?

10                 A.   They thought something was wrong, just thought

11         something went wrong.

12                 Q.   What did you explain to them when they got there?

13                 A.   I just -- I couldn't explain nothing.              I said

14         they're in the wrong house.

15                 Q.   So you said you calmed them down.              How did you do

16         that?

17                 A.   I just told them Yolanda wasn't nobody -- no

18         disrespect.

19                 Q.   So were you attributing what had happened to

20         Yolanda and her household?

21                 A.   Uh-huh.

22                 Q.   Is that a yes?

23                 A.   Yes.

24                 Q.   Okay.     How long did your mother and sisters hang

25         around?

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1               A.    About a good 10 minutes.

2               Q.    And then you went about your day?

3               A.    Yes.

4               Q.    You mentioned before that you had gone to Food

5          Lion to get something to fix for supper.

6               A.    Yes.

7               Q.    Did you fix supper?

8               A.    No.

9               Q.    What did you do?

10              A.    Just started -- everybody just got in one room,

11         we sat there, talked, laughed.           That's it.

12              Q.    What were you talking about?

13              A.    What happened.

14              Q.    What do you recall about that conversation?

15              A.    They was just telling how they was going out the

16         door to meet J.I.      And that was it.

17              Q.    And then they described that they saw the police

18         coming toward them?

19              A.    Yes.    And how they was telling the cops that

20         their sister was pregnant when they was telling them to

21         come down the steps.

22              Q.    Did they say how the police interacted with your

23         daughter who was pregnant?

24              A.    They was like they just told everybody to come

25         downstairs because they all ran upstairs but her and

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1          Robert.

2               Q.     And the police asked them to come downstairs?

3               A.     They was yelling everybody come downstairs.

4               Q.     And Robert and Kamisha came downstairs?

5               A.     Kamisha said she thought they was joking.

6               Q.     Really?     Did she eventually come downstairs?

7               A.     She did once she heard the cops.

8               Q.     So when the boys ran in the house and said to

9          come down -- is it the boys who told her to come downstairs

10         or the police?

11              A.     They ran, the boys ran in the house and ran

12         upstairs and locked themselves in the room with Kamisha and

13         told her cops were in the house.            She thought they were

14         joking.

15                     Then Kamisha heard the cops say everybody come

16         downstairs.

17              Q.     And did she go downstairs then?

18              A.     Yes.

19              Q.     They all went downstairs?

20              A.     Yes.

21              Q.     And nobody was physically harmed, right?

22              A.     No.

23              Q.     Okay.     I asked a question with a double negative

24         in it.    Was anybody physically harmed?

25              A.     No.

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1               Q.      Did your kids tell you anything about the police,

2          whether they were polite or rude or anything about how --

3          did they characterize how they interacted with them?

4               A.      Ziyel.

5               Q.      What did he say?

6               A.      He got, basically they slammed him, handled him

7          rough.    And the lady officer told him not to look at them,

8          look at her.

9               Q.      When you say slammed down, what do you mean?

10              A.      Like I guess -- I can't -- I mean I can't -- I

11         just --

12              Q.      You weren't there, you're just repeating what he

13         told you?

14              A.      Yes.

15              Q.      Okay.     And then the lady officer told him not to

16         look at her.        Is that what you --

17              A.      Yes.

18              Q.      Did he tell you anything else?

19              A.      He was just scared.

20              Q.      Did you, do you recall anything else about what

21         you did, what you and your family did after the police had

22         all left?

23              A.      I'm not sure.       That's it.

24              Q.      Do you recall -- you all got together and you

25         talked.     And do you recall if you eventually had a meal?

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1                  A.   I didn't cook that night.            I do know that.

2                  Q.   Okay.

3                  A.   I think they ate what was, they could find

4          downstairs because I didn't cook.              I do remember that.

5                  Q.   In May of 2020, did you have a plan to move out

6          of the neighborhood?

7                  A.   Yes.

8                  Q.   What was that plan?

9                  A.   Before Kamisha had the baby, I wanted to be out

10         of the neighborhood anyway.

11                 Q.   Why was that?

12                 A.   That's not a place anybody's kids need to grow up

13         in.     That wasn't an apartment to stay for myself or my

14         kids.

15                 Q.   So you always wanted to be out of that

16         neighborhood --

17                 A.   Yes.

18                 Q.   -- the whole time you were living there?

19                 A.   Yes.

20                 Q.   And you were able to move I believe you told me

21         in June of last year?

22                 A.   Yes.

23                 Q.   And who lives with you now at your current

24         address?

25                 A.   It's me, my fiance, and the boys, and Kamisha and

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1          the baby.

2                Q.     Kamisha had her baby?

3                A.     Yes.

4                Q.     A boy or girl?

5                A.     Boy.

6                Q.     How old is he now?

7                A.     He's 2.

8                Q.     And who is your fiance?

9                A.     Keyarn Lane.

10               Q.     Say it again.

11               A.     Keyarn Lane.

12               Q.     Lane?

13               A.     Yes.

14               Q.     And he lives with you?

15               A.     Yes.

16               Q.     When did he, when did you become involved with

17         him, Mr. Lane?

18               A.     A year ago.

19               Q.     What does he do?

20               A.     He's a Correctional Officer.

21               Q.     Where does he work?

22               A.     Warren Correctional.

23               Q.     Your attorneys gave us some documents in

24         discovery.

25                      And I want to show you one of them which I'm

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1          going to mark as Exhibit 11.

2               A.    Okay.

3                     (Exhibit 11 is marked for identification.)

4          BY MS. PACKER:

5               Q.    Which looks like it's just a screen shot of a

6          Facebook post --

7               A.    Yes.

8               Q.    -- by somebody whose name, on Facebook anyway, is

9          KrayKray Johnson.

10              A.    Yes.

11              Q.    And who is KrayKray Johnson?

12              A.    He's my nephew's father.

13              Q.    What's his actual name?

14              A.    Warren Johnson.

15              Q.    So Warren or KrayKray Johnson posts on Facebook

16         you need a lawyer, that's a lawsuit for you and the kids --

17              A.    Right.

18              Q.    -- in response to a news, news piece about the

19         execution of the warrant at your home.              Is that right?

20              A.    Yes.

21              Q.    Do you recall when this -- well, it says --

22              A.    February 2nd.

23              Q.    -- February 2nd.        So would that have been

24         February 2nd of 2021 or do you know?

25              A.    This is this year.

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1               Q.    This year.      Did you have any communications with

2          Warren about this post?

3               A.    No.     It wasn't none of his business.

4               Q.    Had you already retained a lawyer by the time he

5          posted this?      Yes?

6               A.    Yes.

7               Q.    When did you retain an attorney?

8               A.    I don't recall the date.

9               Q.    Do you remember how long it was after the search

10         warrant?

11              A.    No, ma'am.

12              Q.    Do you recall how you found your attorneys?

13              A.    Yes, ma'am.

14              Q.    How did you find them?

15              A.    Yolanda Irving.

16              Q.    Did she approach you or did you approach her

17         about the topic of hiring an attorney?

18              A.    She approached me.

19              Q.    What did she tell you?

20              A.    That it was just, it was wrong.

21              Q.    That what had happened was wrong?

22              A.    Yes.

23              Q.    What else did she tell you?

24              A.    That was basically about it.

25              Q.    How soon was that after May 21, 2020?

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1                  A.   Not for sure.

2                  Q.   Do you think it was weeks or months or do you

3          know?

4                  A.   Not for sure.

5                  Q.   Do you know, did, did Yolanda tell you how she

6          found the attorneys?

7                  A.   No.     I didn't ask no questions.

8                  Q.   Did you then meet with the attorneys?

9                  A.   Yes.

10                 Q.   Okay.     Are you familiar with an organization

11         called Emancipate NC?

12                 A.   Yes.

13                 Q.   What do you know about Emancipate NC?

14                 A.   Not a lot, just a little.

15                 Q.   What is your understanding of what they do?

16                 A.   They help people that was wrongfully accused.

17                 Q.   Do you know anything else about them?

18                 A.   No.

19                 Q.   Do you know anything about their work relating to

20         people who have had search warrants executed at their

21         homes?

22                 A.   No, ma'am.

23                 Q.   And your attorneys also provided us with some

24         social media posts that look like inquiries from the media

25         trying to talk with you.

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1                  A.   Yes.

2                  Q.   Did you ever talk directly with any reporters?

3          Or do you refer them to your attorneys?

4                  A.   I referred them to my attorney.

5                       Wait --

6                  Q.   Go ahead.

7                  A.   -- also I talked to one about the hearing.

8                  Q.   Which hearing are you referring to?

9                  A.   When they was asking for the body cams to be

10         released to the public.

11                 Q.   And did a reporter contact you and want you to

12         talk to him or her?

13                 A.   Yes.

14                 Q.   Do you remember what you said?

15                 A.   Yes.

16                 Q.   What did you say?

17                 A.   I said that if it was their child in that

18         situation, they wouldn't ask for the matter to be private.

19                 Q.   Okay.     Was that published anywhere, your

20         comments?

21                 A.   It was.

22                 Q.   Where was it published?

23                 A.   I think it was ABC.

24                 Q.   Do you remember any other interviews that you

25         gave?

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1                A.     No, ma'am.

2                       I also had another one -- when you asked did I

3          see any documents --

4                Q.     Yes.

5                A.     -- I did a document before to correct the ages.

6                Q.     Tell me more about what you're referring to.

7                A.     It's a document that we had that I had to sign

8          off on as far as like the kids' and my ages and stuff.

9                Q.     And there was a mistake that you needed to

10         correct?

11               A.     Yes.

12               Q.     Okay.

13               A.     So I didn't sign off on it.                   It needs to be

14         corrected.

15               Q.     Okay.      Thank you.       I'm going to ask you some

16         names now.

17               A.     Okay.

18               Q.     If you don't recognize them, just tell me you

19         don't.     But if you recognize them, please tell me that.

20               A.     Yes.

21               Q.     Dawn Blagrove?

22               A.     No.

23               Q.     Kesha Knight?

24               A.     No.

25               Q.     Amir Abboud?

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1                   A.      No.
2                   Q.      Gregory Washington?
3                   A.      No.
4                   Q.      Keith Green?
5                   A.      No.
6                   Q.      Jordan Miles?
7                   A.      No.
8                   Q.      Curtis Logan?
9                   A.      No.
10                  Q.      Isaiah Walker?
11                  A.      No.
12                  Q.      Connell Wilson?
13                  A.      No.
14                  Q.      Blake Banks?
15                  A.      No.
16                  Q.      Mesiah Howard?
17                  A.      No.
18                  Q.      Shakari Ore?
19                  A.      No.
20                  Q.      David Mitchell?
21                  A.      No.
22                  Q.      Mario King?
23                  A.      No.
24                  Q.      Sherrod Smith?
25                  A.      No.

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1                Q.    I already asked you about Marcus Van Irvin.

2                      You know who he is, but you don't know him?

3                A.    No.     I don't know him.

4                Q.    I'm probably pronouncing this wrong -- Kadejah,

5          K-A-D-E-J-A-H, Williams?

6                A.    No.

7                Q.    Krystal Hamlett?

8                A.    No.

9                Q.    Howard Jordan?

10               A.    No.

11               Q.    Lakisha Leak?

12               A.    No.

13               Q.    David Weaver?

14               A.    No.

15               Q.    Brittany Quinn?

16               A.    No.

17               Q.    Chutney Nance?

18               A.    No.

19               Q.    Terry Harris?

20               A.    No.

21               Q.    Some more names for you -- Daquan McLamb?

22               A.    No.

23               Q.    Arion Quinerly?

24               A.    No.

25               Q.    Antonio Hill?

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1                   A.      No.
2                   Q.      Antwon Perry?
3                   A.      No.
4                   Q.      Carl Aguilar?
5                   A.      No.
6                   Q.      Demorris Meeks?
7                   A.      No.
8                   Q.      Willie Robertson?
9                   A.      No.
10                  Q.      Lorina Rogers?
11                  A.      No.
12                  Q.      Kmore Scott?
13                  A.      No.
14                  Q.      Ashley Bost?
15                  A.      No.
16                  Q.      Marcus Davis?
17                  A.      No.
18                  Q.      Raymond Burnette?
19                  A.      No.
20                  Q.      Shaquan Williamson?
21                  A.      No.
22                  Q.      Devin Thompson?
23                  A.      No.
24                  Q.      Lawrence Steverson?
25                  A.      No.

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1                Q.    Carrington Scotland?

2                A.    No.

3                Q.    Terry Lamar Harris?

4                A.    No.

5                Q.    Jonathan Cooke?

6                A.    No.

7                Q.    Clifton Washington?

8                A.    No.

9                Q.    Jonathan O'Neal?

10               A.    No.

11               Q.    Jackie Willingham?

12               A.    No.

13               Q.    Deonte Thomas?

14               A.    No.

15               Q.    Prior to May of 2021, where would you obtain

16         routine medical care?

17               A.    Raleigh Associated Medical.

18               Q.    Is that where you would go for just regular

19         appointments, that type of thing?

20               A.    Yes.

21               Q.    Raleigh Associated Medical?

22               A.    Yes.

23               Q.    Where are they located?

24               A.    On Six Forks Road.

25               Q.    Did your kids go to the same medical provider?

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1               A.    Yes -- no, not as myself.            I'm sorry.

2               Q.    Okay.     Where did your children obtain routine

3          medical care?      And if it's different for different

4          children --

5               A.    No.     They're all the same.

6               Q.    Okay.

7               A.    Growing Child Pediatrics.

8               Q.    Where is --

9               A.    Horizon Drive.

10              Q.    Have you ever had any psychological counseling or

11         therapy?

12              A.    No.

13              Q.    Have any of your kids?

14              A.    No.

15              Q.    How is your health generally, your physical

16         health?

17              A.    Good.

18              Q.    How about your kids, are they all in good health?

19              A.    Everybody has asthma.          But other than that,

20         they're good.

21              Q.    Did Ziyel go see a psychologist or therapist at

22         Etheridge Psychology?

23              A.    We had one virtual.

24              Q.    A virtual, by Zoom or --

25              A.    Yes.

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1               Q.    Were you present during that session?

2               A.    Yes.

3               Q.    How did it come about that Ziyel had that session

4          with Etheridge Psychology?

5               A.    My attorneys.

6               Q.    Your attorneys arranged it?

7               A.    Yes.

8               Q.    Has anybody else, you or any of your other kids,

9          seen any therapist or psychologist as a result of the

10         search warrant incident on May 21, 2020?

11              A.    No.

12              Q.    Has the opportunity been offered to anyone else?

13              A.    I have tried to get Ziyel one.

14              Q.    I'm sorry?

15              A.    I tried to get Ziyel to see one.

16              Q.    Okay.

17              A.    He wouldn't.

18              Q.    Ziyel would not?

19              A.    No.

20              Q.    So I don't understand.          I thought you said Ziyel

21         had seen --

22              A.    He seen the one from her.

23              Q.    Got you.     But he will not see any, he won't go

24         for any additional --

25              A.    Before her, he will not.

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1                Q.    Okay.      Before -- let's get the name -- Dr.

2          Etheridge, he would not go to see anybody?

3                A.    No.

4                Q.    Why were you trying to get him to go see

5          somebody?

6                A.    My son won't come out the front door.

7                      I pay extra money for him to go to the

8          barbershop.       They have to close the barbershop for him to

9          be in there by himself.

10                     It's like he's, it's like we live here, he

11         probably lives --

12               Q.    So you --

13               A.    -- not in school.

14               Q.    You were concerned about him?

15               A.    Very.

16               Q.    And you tried to get him to go get some

17         counseling?

18               A.    He don't trust nobody but me.

19               Q.    But he was willing to speak with Dr. Etheridge?

20               A.    Not at first.

21               Q.    You had to convince him?

22               A.    I had to be there.

23               Q.    But he did talk with Dr. Etheridge?

24               A.    Barely.

25               Q.    And have you tried to get him to go to any

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1          counseling since that session with Dr. Etheridge?

2                       You're nodding yes.

3                  A.   Yes.

4                  Q.   Has he refused?

5                  A.   Only if I be there.

6                  Q.   Do you need a tissue?          There's some right there.

7                       Are you okay to keep going?            Or do you want to

8          take a break?

9                  A.   I'm okay.

10                 Q.   All right.      So he will only go to see a therapist

11         if you're with him?

12                 A.   Yes.

13                 Q.   Have you tried to make arrangements for him to do

14         that or not?

15                 A.   I'm working on it.

16                 Q.   Okay.    So I'm looking at the -- have you seen the

17         report by Dr. Etheridge?

18                 A.   Yes.

19                 Q.   He said that your family moved a couple of months

20         following the 5-21-20 incident.

21                      Is he just mistaken about the timing on that?

22                      Because I think you told me you moved in the

23         next, the following year.

24                 A.   We moved in '20, this is 2022, we move in 2021 of

25         June.

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1               Q.      And so if he said the family moved a couple of

2          months following the 5-21-20 incident, is he just off on

3          his dates?

4               A.      Yes.

5               Q.      And he says he's in contact with his biological

6          father.   Does he see his father?

7               A.      Yes.

8               Q.      Do they have a good relationship?

9               A.      No.

10              Q.      What -- why do they not have a good relationship?

11              A.      They haven't seen him -- it's like when he gets

12         in a relationship, they're nonexistent.

13              Q.      What do you mean by that?

14              A.      They're nothing to him.           I think the most that

15         he's been around them is now since he done seen the news.

16         But --

17              Q.      So their father was out of the picture for a

18         while?

19              A.      Yes, ma'am.

20              Q.      But he's back in the picture?

21              A.      Yes.

22              Q.      So how often does Ziyel see his father?

23              A.      Now, every other day.

24              Q.      And why do you think that that has changed?

25              A.      He's seen them on the news.

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1               Q.    And what do you think -- has that changed his

2          motivation?

3               A.    Ziyel's?

4               Q.    Or are you talking about -- who saw him on the

5          news, the father saw --

6               A.    Yes.    The father saw them.

7               Q.    And why do you think that has caused him to see

8          Ziyel more often?

9               A.    I guess he thinks he's going to get something out

10         of it I guess.

11              Q.    Ziyel said that he had a learning disorder when

12         he was young and that he had an IEP in school.

13              A.    Yes.

14              Q.    Tell me what you remember about that.

15              A.    He lagged, had a hard time in English with

16         comprehension.

17              Q.    Did he have to repeat second grade?

18              A.    Yes.    I wanted him to repeat the second grade.

19              Q.    Other than the learning disorder that he had, did

20         he have any other problems in elementary school?

21              A.    No, ma'am.

22              Q.    And he talked about transferring from Leesville

23         to Athens High School.        What was the reason that he

24         switched high schools?

25              A.    We moved.

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1               Q.    Okay.   And in this report by Dr. Etheridge, she

2          reports that you pulled him out of school last week.

3                     But this would have been, this was October 5th

4          that you were talking with her, 2022.

5               A.    I'm not sure.

6               Q.    Okay.   But do you recall that you pulled Ziyel

7          out of high school in late September, early October?

8               A.    It was in October, yes.

9               Q.    And why did you do that?

10              A.    I had a conversation with the school about his

11         small settings.    They did let him do summer school virtual.

12                    But when it was time for him to go back in, they

13         wouldn't let him do virtual or -- I knew they offered, I do

14         know they did offer incoming school after the school closed

15         some classes online.      And they wouldn't offer it to him

16         online.

17              Q.    And why was that a problem?

18              A.    She said that, that they couldn't, that was --

19              Q.    Why did you want him to be attending virtually?

20              A.    Last year when he tried to go back, when they

21         lifted virtual, I had to go pick him up every day.

22              Q.    Why was that?

23              A.    He couldn't be around a large, it was just too

24         much, his anxiety.

25              Q.    Is he taking any medication for anxiety?

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1               A.      No.

2               Q.      Is he receiving any treatment?

3                       I know you told me that you tried to get him to

4          go see someone and he wouldn't.

5                       But to your knowledge, has he received any

6          treatment for his anxiety?

7               A.      No.

8               Q.      When he begins at Wake Tech, will that be in

9          person or online?

10              A.      Virtual.

11              Q.      And Ziyel had worked at Walmart.               Is that right?

12              A.      Yes.

13              Q.      What was he doing at Walmart?

14              A.      He was working in the back, breaking down the

15         boxes.

16              Q.      And why did he leave that job?

17              A.      Christmas, when the Christmas holidays started,

18         it was, when he had to go out in the store to take the

19         boxes back there, it was just a little bit too much with

20         the crowd.

21              Q.      Did he quit or did they terminate him?

22              A.      He quit.

23              Q.      And he worked at Burlington Coat Factory as well?

24              A.      For two days.

25              Q.      And why did he not stay with that job?

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1               A.    The crowd.

2               Q.    He had a concussion in July of 2022?

3               A.    Yes.

4               Q.    How did he get that concussion?

5               A.    He was walking, him and Robert was walking to the

6          Dollar Tree to get some snacks.           And the guys wanted to

7          know who they were.       They didn't answer.         And they ended up

8          jumping on Ziyel.

9               Q.    Who were these guys?

10              A.    Some guys that was at the park.                Not for sure.

11              Q.    And how was he -- they jumped him.                And how did

12         he get the concussion, do you know?

13              A.    They was stomping him in the head and stuff.

14         There was I think five.

15              Q.    Were these people that your son knew?

16              A.    No.

17              Q.    They were strangers?

18              A.    Yes.

19              Q.    Were the police called?

20              A.    Yes.

21              Q.    Were there any arrests?

22              A.    No.

23              Q.    Did he receive treatment as a result of that

24         concussion?

25              A.    He went to the hospital.

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1               Q.    What hospital did he go to?

2               A.    The one in Garner, the WakeMed in Garner.

3               Q.    Was he admitted?

4               A.    No.

5               Q.    Was he just seen in the emergency room?

6               A.    Yes.

7               Q.    And did they diagnose him with a concussion?

8               A.    Yes.

9               Q.    Did he have to follow a concussion protocol?

10              A.    They just said he needed rest, sleep.

11                    And I got a paper from a neurologist, but he

12         didn't want to go.

13              Q.    So they referred him to a, go see a neurologist,

14         but Ziyel did not want to go?

15              A.    No.

16              Q.    So you didn't take him?

17              A.    No.

18              Q.    Did he have any other treatment as a result of

19         that concussion?

20              A.    No.

21              Q.    Did he have any other injuries from that attack?

22              A.    Just lip busted.        But other than that, he was --

23              Q.    So when Dr. Etheridge was on the Zoom call or

24         however it was set up and asked Ziyel about the events that

25         occurred on May 21st, he did not want to talk about it

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1          according to her report.

2                      Is that what you recall?

3               A.     Yes.

4               Q.     Does he still spend time with Z.G.?

5               A.     Yes.

6               Q.     Are they still good friends?

7               A.     Yes.

8               Q.     Other than the concussion, has Ziyel ever had any

9          serious injuries?

10              A.     No.

11              Q.     Has he ever had any health problems other than

12         the asthma?

13              A.     No.

14              Q.     Prior to May of 2021, did he ever show signs or

15         symptoms of anxiety that you saw?

16              A.     No.

17              Q.     Have Kamisha and Robert been offered the

18         opportunity to speak with Dr. Etheridge?

19              A.     Yes.

20              Q.     Have they declined?

21              A.     They didn't decline, but Kamisha works third

22         shift.

23              Q.     It's not, it's not going to fit into her

24         schedule?

25              A.     Not if she sleeps.

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1                  Q.   As far as you know, does Kamisha have any plans

2          to see Dr., to have a session with Dr. Etheridge?

3                  A.   I know she has, I know she says she was going to

4          get therapy herself.         But I never followed up on that.

5                  Q.   So as far as you know, she hasn't seen any

6          counselor or therapist as a result of the events on May

7          21st?

8                  A.   No, ma'am.

9                  Q.   What about Robert?

10                 A.   No, ma'am.

11                 Q.   What about you?

12                 A.   No.

13                 Q.   Is there a reason that you haven't?

14                 A.   I'm just trying to be there for my kids.

15                 Q.   I know you said you call her by a different name,

16         but is Z.G.'s mother's name Nanetta?

17                 A.   Yes.

18                 Q.   Was she present in the home on May 21st?

19                 A.   No.     Z.G., just Z.G.

20                 Q.   Have you talked with Nanetta about what happened

21         on that day?

22                 A.   I called her.       And she just asked was everybody

23         okay.

24                 Q.   You called her that day?

25                 A.   Yeah.

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1                  Q.   Just to let her know what had happened?

2                  A.   Yes.

3                  Q.   When she asked was everybody was okay, what did

4          you tell her?

5                  A.   I told her yes.

6                  Q.   You've told me a little bit about Ziyel and the

7          anxiety that he has and not wanting, and wanting to be with

8          you and not wanting to be in large groups.

9                  A.   Yes.

10                 Q.   What about Kamisha, have you observed any changes

11         in her since May of 2021 [sic]?

12                 A.   No.

13                 Q.   How about Robert?

14                 A.   No.     Robert's Robert.

15                 Q.   So Robert seems to be the same as he always has

16         been?

17                 A.   My kids are very private.            So they don't have a

18         lot of friends.

19                 Q.   Okay.

20                 A.   I think Ziyel, once Ziyel played, Ziyel --

21         Dyamond is more sport-ish, Ziyel is not doing anything.

22                      So they -- we're all tight knit.               So I guess as

23         long as we have each other, it's fine -- well, not fine,

24         but as long as --

25                 Q.   And Dyamond, has Dyamond seen a counselor to your

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1          knowledge?

2               A.      I'm not for sure.

3               Q.      As far as you know, has he?

4               A.      I'm not for sure.

5               Q.      Okay.    Do you just not remember?          Or you just

6          don't know?     Or --

7               A.      Dyamond just lost a baby.

8               Q.      I'm sorry to hear that.

9               A.      So I'm --

10              Q.      Right.     So you wouldn't know about that?

11                      So with respect to May, the search warrant

12         episode, May 21, 2020, has Dyamond sought any treatment?

13              A.      Not that I know of, no.

14              Q.      Have you observed any changes in Dyamond related

15         to or following that event?

16              A.      Just socially, they're not socially like they

17         used to.     He's a little more sociable than Ziyel, but not

18         as much as he used to.

19              Q.      How do you -- what do you mean by that?

20              A.      Dyamond, Dyamond's the jokester.            Dyamond is the,

21         Dyamond is I guess the one who makes everybody laugh.                  He's

22         more friendlier.        He's the people person.

23                      I mean he's still a people person, but he's not

24         like they used to be.

25              Q.      You said he recently lost a baby?

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1               A.    Yes.

2               Q.    After -- going back in time now to May of 2020,

3          2021 -- did Ziyel and Xavier get into it with each other on

4          social media in the days following the search warrant?

5               A.    I'm not for sure of the date.

6               Q.    Do you recall a few days later the police were

7          called?

8               A.    I don't think I was there.

9               Q.    But do you recall that that happened?

10              A.    Yes.

11              Q.    And was it Yolanda who called the police?

12              A.    I guess, yes.

13              Q.    How do you, how did you become aware that the

14         police had been called?

15              A.    I think it was Gina had called me.

16              Q.    Who's that?

17              A.    Xavier was dating her daughter.

18              Q.    And what did she tell you?

19              A.    She said that the kids had a -- I think it

20         started with J.I.      And Xavier got, had ended up getting

21         into it.   I don't know how it started.

22                    But I just told her I wasn't going to get in the

23         middle because they was going to be friends a couple days

24         later.

25              Q.    Do you recall speaking to a police officer on,

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1          about four or five days after the search warrant episode?

2               A.    I don't recall.

3               Q.    Do you recall that after that picture was taken

4          off of Instagram, the one of Ziyel in handcuffs, do you

5          recall that Xavier and Ziyel were talking back and forth on

6          social media about fighting?

7               A.    I don't recall that.          I just remember it was J.I.

8          and Ziyel supposedly.       I didn't see any messages.

9               Q.    Okay.    And you don't recall speaking to the

10         police about this?

11              A.    I don't recall.

12              Q.    To your knowledge, have any of your kids ever

13         used marijuana?

14              A.    Yes.

15              Q.    Who has used marijuana?

16              A.    Ziyel.

17              Q.    What do you know about that?

18              A.    That's how he eat and sleep.

19              Q.    I'm sorry?

20              A.    That's how he can eat and sleep.

21              Q.    So he uses it on a regular basis?

22              A.    No.

23              Q.    Well, what do you mean that's how he can eat and

24         sleep?

25              A.    When his anxiety is high.

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1               Q.    When did he first start using marijuana?

2               A.    To my knowledge, I want to say like a year ago.

3               Q.    Do any of your other kids use marijuana?

4               A.    No.

5               Q.    Do you?

6               A.    No.

7               Q.    Where does Ziyel obtain the marijuana?

8               A.    Me.

9               Q.    Where do you obtain it?

10              A.    My brother.

11              Q.    Who is your brother?

12              A.    William Swang.

13              Q.    Say it again.

14              A.    William Swang.

15              Q.    And how does he obtain it?

16              A.    I don't know.

17              Q.    Does he sell marijuana to people other than you?

18              A.    No.

19              Q.    Just you?

20              A.    He -- I don't even pay for it.

21              Q.    Provides?

22              A.    Yeah.

23              Q.    Okay.

24              A.    So it's just when he can't sleep.             I just, I ask

25         -- because he lost weight.        He gets up like at 12:30, 1:00

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1          o'clock, wanting to text or talk.                 I got to be to work at

2          3:30.        So I'm barely sleeping.          So --

3                  Q.      You're talking about Ziyel --

4                  A.      Yes.

5                  Q.      -- who is waking you up or preventing you from

6          sleeping?

7                  A.      Yes.

8                  Q.      And so you asked your brother for some marijuana?

9                  A.      I just looked it up online and kind of did my

10         research.

11                 Q.      And what did you see?

12                 A.      Sometime it helps with anxiety and depression.

13                 Q.      And how did you go about, how did you know to ask

14         your brother?

15                 A.      I just asked him did he know where to get it

16         from.

17                 Q.      And what did he say?

18                 A.      He told me he'll call me back.

19                 Q.      And what did he say when he called you back?

20                 A.      He just told me to meet him.             And I did.    And he

21         gave it to me.

22                 Q.      How many times has he provided you with marijuana

23         for your son?

24                 A.      I don't know.       Not for sure.

25                 Q.      Is it a regular basis?

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1                A.   It's not on a regular basis.

2                Q.   How many times a week or a month would you say?

3                A.   Maybe twice a month.

4                Q.   And that's been going on for about a year?

5                A.   Yes.

6                Q.   Other than your attorneys, who have you spoken

7          with about what happened on May 21, 2020?

8                A.   Nobody.

9                Q.   You talked with your kids a little bit.

10               A.   The children.

11               Q.   Yeah.     But nobody else?

12               A.   No.     It's none of their business.

13               Q.   Did you and Yolanda ever talk about it?

14               A.   Just when the lawyer came.            But other than that,

15         no.

16               Q.   And your understanding from what your kids told

17         you is that when they saw the police, they ran back inside.

18         Is that right?

19               A.   Yes.

20               Q.   But they weren't chased by the police as far as

21         you're aware?

22               A.   Not that I was aware of.

23                    THE VIDEOGRAPHER:         We've got 10 minutes --

24                    MS. PACKER:      This would be a good time to break.

25                    THE VIDEOGRAPHER:         Off the record at 12:20.

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1                       (Off the record)

2                       THE VIDEOGRAPHER:      This begins Disk Number 2 in

3          the deposition of Kenya Walton.          The time is 1:37.

4          BY MS. PACKER:

5                 Q.    Ms. Walton, are you holding up okay?

6                 A.    Yes, ma'am.

7                 Q.    I have a few more questions for you, and then

8          I'll show you a couple of videos, and then pass it on to

9          some of the other attorneys.

10                A.    Okay.   I have one more --

11                Q.    Yes, ma'am.

12                A.    You had asked me about the suspension -- he did

13         have one last year in August.

14                Q.    You're talking about Ziyel --

15                A.    Ziyel, yes.

16                Q.    -- had another suspension?

17                A.    Last year in August.

18                Q.    Okay.   And what was that for?

19                A.    He had went home because his anxiety was high.

20         And he came back.      And it was the -- he walked in the

21         classroom.     And they, like they smelled marijuana.

22                      And they asked him did he smoke.            And he said

23         yes.    But he didn't have it on him.          But when they searched

24         his bag, they found a cigarette lighter.

25                      So that was it.

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1               Q.     So he was suspended for having the cigarette

2          lighter?

3               A.     Yes.

4               Q.     Okay.    And was it also for admitting that he had

5          smoked marijuana?       Or do you know?

6               A.     I'm not for sure.         It was just that he smelled

7          like it, he admitted it.          And when they searched his stuff,

8          he had the, like the little cigarette thingy.

9               Q.     And how long was he suspended for?

10              A.     I think a week.

11              Q.     Thank you for, for clarifying that.

12                     In one of the documents I was looking at, I saw a

13         reference to a man had been killed across the street from

14         where you lived on Burgundy.

15              A.     Yes.

16              Q.     Do you remember that?

17              A.     Yes.

18              Q.     What do you remember about that?

19              A.     The police knocking on the door and woke us up.

20              Q.     Okay.    Was that the same shooting that you were

21         talking about earlier?

22              A.     Yes.

23              Q.     And so somebody was actually killed in that

24         shooting?

25              A.     Yes.

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1               Q.      And you remember being woken up and asked

2          questions about it?

3               A.      Yes.

4               Q.      I asked you a little bit about the search that

5          the police conducted in your house.

6                       Did you have an understanding of what they were

7          searching for?

8               A.      The understanding was counterfeit money.

9               Q.      Because they asked you if you had any counterfeit

10         money?

11              A.      Uh-huh.     Yes.

12              Q.      Did, did you have any understanding that they

13         might be looking for a person?

14              A.      After, after they came back down, they said a

15         person had entered Yolanda's unit and something about the

16         attic and said the attic was connected.

17                      But I wasn't for sure because I'd never been in

18         the attic.

19              Q.      But you had the impression that perhaps the

20         police thought that a person could have entered Yolanda's

21         apartment and made his way over to your apartment?

22              A.      Yes.

23              Q.      And the search that they conducted, were you able

24         to see what they were doing while they were searching, at

25         least in the downstairs?

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1               A.    No.     They didn't go, they didn't search anything

2          downstairs.

3               Q.    Okay.     So they didn't search the downstairs?

4               A.    No, ma'am.

5               Q.    They went upstairs?

6               A.    Yes.

7               Q.    And so you weren't able to observe what they were

8          looking for?

9               A.    No.

10              Q.    When you went back upstairs after they had

11         finished, when you eventually went back upstairs, was

12         everything the way you had left it?

13              A.    Yes.

14              Q.    Did you have any robberies at the apartment on

15         Burgundy prior to May of 2020?           Were you a victim of a

16         robbery?

17              A.    Yes.

18              Q.    How many times?

19              A.    Once.

20              Q.    What happened then?

21              A.    I left, I left to go and, I left to go and pick,

22         I think I went to pick one of the boys up from school,

23         Robert and Ziyel from school if I'm not mistaken.

24                    The 3000 dollars in my top drawer was missing.

25         Dyamond, all of Dyamond's shoes were missing.             And we found

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1          one shoe outside of the window.

2                Q.   Did you report that to the police?

3                A.   Yes.

4                Q.   Did they investigate?

5                A.   Honestly, I don't know.

6                Q.   Or did they come --

7                A.   They came.

8                Q.   Yeah.    Okay.     Do you know how that person gained

9          entry to your apartment?

10               A.   Yes.

11               Q.   How?

12               A.   He was Kamisha's friend.

13               Q.   Okay.    A friend of your daughter?

14               A.   Yes.

15               Q.   Do you know who it was?

16               A.   Yes.

17               Q.   Was he ever arrested?

18               A.   Yes.

19               Q.   And who, what's his name?

20               A.   The little boy's name was -- not John -- George

21         Simms.

22               Q.   And is it your understanding that Kamisha let him

23         in?

24               A.   Yes.

25               Q.   And he stole the money and the shoes while he was

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1          in your apartment?

2                  A.   Kamisha, Kamisha -- I'm not for sure how the

3          story went -- but I know she said she, she had went outside

4          to talk to Jasmine.         And when she came back in the house,

5          the back door was open.          So --

6                  Q.   And you discovered the money and the shoes were

7          gone?

8                  A.   Yes.    Because the screen door where I park at in

9          the back, the screen in the boys' room was out.              And I

10         found Dyamond's Air Force 1s, they were brand new, I only

11         found one shoe.       And I was like why is Dyamond's shoe --

12         that's when -- Kamisha was still in the front.              And she was

13         like well, George asked if he could come in and use the

14         bathroom.

15                      I said okay.       I said so why is Dyamond's --

16         that's when I went in there and all Dyamond's shoes were

17         missing.     And I checked my top drawer, and the 3000 dollars

18         in my top drawer was missing.

19                 Q.   Do you know if that money or those shoes were

20         ever recovered?

21                 A.   I know he admitted to it, but it was not

22         recovered.

23                 Q.   Have you been the victim of a crime on any other

24         occasions?

25                 A.   My car was stolen.

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1               Q.      When was that?

2               A.      I don't remember.

3               Q.      Was it before 2020?

4               A.      I think it was after.

5               Q.      Where was it stolen from?

6               A.      From the Hog Pen.

7               Q.      What's that?

8               A.      It's a motorcycle club.

9               Q.      Did you report it to the police?

10              A.      Yes.

11              Q.      Did they arrest somebody?

12              A.      No.     They found the car.

13              Q.      And they -- did you recover the car?

14              A.      It had the -- yes.

15              Q.      How did they find the car?            Were you about to

16         explain that?

17              A.      A tracker.

18              Q.      Okay.     Any other times that you've been a victim

19         of a crime?

20              A.      As far as an ex-boyfriend?

21              Q.      Sure.

22              A.      That's it.

23              Q.      What happened with the ex-boyfriend?

24              A.      I left him alone.         When I was at work, he came in

25         the house.     He took all the, he took all Ziyel and

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1          Dyamond's clothes.

2                     And we called the police then.             And the police

3          came to -- the police came -- well, I called the police,

4          and the police came to my job.           But I had to file a civil

5          suit or something like that.

6               Q.    Okay.     Did you file a lawsuit?

7               A.    No.

8               Q.    You knew who had done it?

9               A.    Yes.

10              Q.    Who was he?

11              A.    My ex-boyfriend.        His name is Rashid Campbell.

12              Q.    Did you ever get the clothes back?

13              A.    No.

14              Q.    Are there any other times you can think of that

15         you've been a victim of a crime?

16              A.    Another ex-boyfriend.

17              Q.    What happened with him?

18              A.    I broke up with him, and he tried to kill me.

19              Q.    Oh.     How did he do that?

20              A.    He -- when I was leaving, I was leaving the

21         house, I was leaving the house, going to the beach.

22                    And he pulled up.         And he asked could we have a

23         conversation.      I said no.

24                    When I said no, like 30 minutes, 45 minutes

25         later, he came while I was putting my bags in the trunk and

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1          the kids was sitting on the steps, and he started shooting.

2          The trunk of the car caught the bullet.              So --

3               Q.    Trying to shoot you?

4               A.    Yeah.    Yes.

5               Q.    But fortunately he missed?

6               A.    Yes.

7               Q.    Did you report that to the police?

8               A.    Yes.

9               Q.    And did they come?

10              A.    Yes.

11              Q.    What happened?

12              A.    He got arrested, did a restraining order.

13              Q.    Did he stay away from you after that?

14              A.    Yeah.    He stayed away for a while until he seen

15         me on the news.

16              Q.    Has he reconnected or tried to reconnect?

17              A.    Tried.

18              Q.    When he saw you on the news about the search

19         warrant?

20              A.    Yes.

21              Q.    And what was his name or is his name?

22              A.    Floyd Dunn.

23              Q.    Can you say it again?

24              A.    Floyd Dunn.

25              Q.    How did he try to reconnect with you?

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1                  A.      Instagram and Facebook.

2                  Q.      Did you respond?

3                  A.      Tried to be nice, yes.

4                  Q.      What did you say?

5                  A.      He asked how everybody was doing, how everybody

6          was holding up.          I said fine.

7                          We talked for a little while.             And then he

8          started saying that he needed a target truck company.

9                          And I said oh, okay.

10                         Then he said he wanted to get married.

11                         I told him I had a boyfriend.             And that didn't go

12         well.        So I applied for a restraining order.

13                 Q.      Again?

14                 A.      Yes.

15                 Q.      And did you get the restraining order?

16                 A.      I went to court.        They did not have him served.

17                         So they gave me another court date.             And I

18         couldn't remember when it was.                So I think it kind of

19         scared him off because he didn't say nothing else to me

20         afterwards.

21                 Q.      Are there other people who have contacted you,

22         you know, people that you knew in the past who have

23         contacted you as a result of seeing you on the news and

24         your impression is they want to get something out of you?

25                 A.      I never had a close relationship with my mom.

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1          She talks to me every day.

2                     A lot of my friends that I don't talk to -- but

3          only thing I did was change my number honestly.

4               Q.    So your mom started talking to you more after you

5          were on the news?

6               A.    Every day.

7               Q.    And is it your impression because she wanted to

8          get something out of the situation?

9               A.    Yeah.    She asked for the kids to come.          If I was

10         out of town, if the news people contact the kids, that

11         she'll talk for them.       I just saw that nobody had my direct

12         number.

13              Q.    So have you changed your phone number as a result

14         of these people trying to contact you?

15              A.    Yes.

16              Q.    That includes some friends you said started

17         trying to contact you more?

18              A.    Yes.

19              Q.    And now -- I'm not asking your phone number --

20         but who would have access to your new number one?

21              A.    My job, my boyfriend, and my kids.

22                    Even the women in my, the club that I'm a part

23         of, I be careful what events I go to.             But they don't even

24         have my number.

25              Q.    You mentioned a couple times the motorcycle club.

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1                 A.     Yes.

2                 Q.     Tell me the connection between your social club

3          and the motorcycle club.

4                 A.     We are the sister clubs to the motorcycle --

5          meaning we, some of us do ride motorcycles, some of us

6          don't.      Anything that our brethren clubs need as far as

7          their community events or supporting them, we go out and

8          support.

9                 Q.     Are you a motorcycle rider yourself?

10                A.     I used to ride.        I don't own one now.

11                Q.     Okay.     I'm going to show you a few video clips

12         now.     I'm just going to show you on my laptop.

13                A.     Yes, ma'am.

14                       MS. PACKER:      If anybody wants to move, feel free.

15                       (Video is played.)

16         BY MS. PACKER:

17                Q.     Okay.     Was that the video clip that you looked at

18         before of you coming in?

19                A.     Uh-huh.

20                Q.     Who, who was that other woman who came in after

21         you?

22                A.     That was Brian's sister.

23                Q.     Okay.     Who is that?

24                A.     Brian, my ex-boyfriend, when I -- that's the one

25         that called me.

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1               Q.    And what's her name again?

2               A.    Aries.     I don't remember her last name.

3               Q.    So did she just walk in with you?

4               A.    Yes.

5               Q.    Where did you first see Aries?

6               A.    When I told her I was pulling up in the back, she

7          was coming through the apartments.

8               Q.    So she walked in with you?

9               A.    Yes.

10              Q.    And then she -- did she stay?

11              A.    No.     She ended up leaving because the dog ran

12         away, Robert's dog ran away.

13              Q.    Did she go after the dog?

14              A.    Yes.

15              Q.    Okay.     Were you able to find the dog?

16              A.    Yes.

17                    THE REPORTER:       Did you want to identify that?

18                    MS. PACKER:      Sure.     Exhibit 13.

19                    (Exhibit 13 is marked for identification.)

20         BY MS. PACKER:

21              Q.    When you said where are my babies -- is that what

22         you were telling me about earlier where you did the

23         counting in your head and one was missing and that was

24         Ziyel?

25                    You're nodding your head yes?

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1               A.    Yes.    I'm sorry.

2               Q.    And then you discovered that he was next door --

3               A.    Yes.

4               Q.    -- in Ms. Irving's apartment?

5               A.    Yes.

6                     MS. PACKER:      This is Exhibit 14.

7                     (Exhibit 14 is marked for identification.)

8                     (Video is played.)

9          BY MS. PACKER:

10              Q.    The dog that you're referring to is Robert's

11         dog --

12              A.    Yes.

13              Q.    -- that had run out?

14              A.    Yes.

15              Q.    Who were you talking to on the phone?

16              A.    I think that was my mom -- I think.

17              Q.    Do you think you called her or she called you?

18              A.    I know she had called me.

19              Q.    Was this before the photo with handcuffs was

20         posted or after or do you know?

21              A.    I'm not for sure.

22              Q.    Okay.     Do you know why she called you?

23              A.    About the photo.

24              Q.    Okay.     So it probably was after?

25              A.    Uh-huh.

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1               Q.     And who was sitting on the coffee table?

2               A.     That was Kamisha and Robert.

3               Q.     And then the lady --

4               A.     That was Aries.

5               Q.     Aries.     And did you hear people laughing in that

6          video?    Who was laughing?

7               A.     It was Robert, I think the police officer, the

8          one that was asking about the dog, and Aries.

9               Q.     What were they laughing about, do you remember?

10              A.     Because the dog had run out the door.

11              Q.     This next one I'm going to show you is a little

12         longer.

13                     (Exhibit 15 is marked for identification.)

14                     (Video is played.)

15         BY MS. PACKER:

16              Q.     You were, you were angry at this point?

17              A.     Yes.

18              Q.     Were you angry because the photo had been posted

19         on Instagram?

20              A.     No.    It wasn't that.        She called the landlord and

21         told the landlord that they was supposed to be in my house

22         and not hers.

23              Q.     Oh, this is Yolanda?

24              A.     Yes.

25              Q.     How did you find that out?

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1               A.     The landlord called.

2               Q.     And what did the landlord say?

3               A.     She asked what was going on.

4                      And I didn't see the search warrant.

5                      So she was like if the search warrant had my

6          address on it, that I would get evicted.

7                      She said Yolanda had called her I guess in the

8          midst of some, in between that time, and told her that the

9          search warrant was for my house for selling drugs.

10              Q.     So Yolanda told the landlord that it was your

11         house that was supposed to be searched for somebody selling

12         drugs?

13              A.     Uh-huh.     And at the time, the landlord didn't

14         have the search warrant then.

15              Q.     And just for the record, you answered that yes?

16              A.     Yes.

17              Q.     Okay.     And that made you mad?

18              A.     Yes.

19              Q.     And you said something about your kids are not

20         supposed to be over there.          Why was that?

21              A.     Because they're not, they wasn't -- at that time,

22         I think that's when they was bumping heads if I'm not

23         mistaken.    I'm not for sure.

24              Q.     Had you told them not to go over to Yolanda's?

25              A.     Not inside.

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1                 Q.   You told them not to go inside her house?

2                 A.   Yes.

3                 Q.   And why was that?

4                 A.   I think that's when they had the, J.I. and -- I'm

5          not for sure.

6                 Q.   Okay.    You can't remember?

7                 A.   No.

8                 Q.   But you definitely remember that they were not

9          supposed to be over there --

10                A.   I'm a bit -- they're not allowed to be in

11         nobody's house.

12                     At that time, that's when the whole bedbug

13         situation's over there.         And that's not meant towards her

14         at all.

15                     It's just -- like they would come in my house and

16         eat.    Like they would go to her house, she would feed them

17         like at the back door.

18                     But to be in there, be in there -- I mean why

19         would you run into her house?

20                Q.   You didn't want them in her house?

21                A.   Not with the whole bedbug thing.

22                Q.   Okay.    Did they get bedbugs at her house?

23                A.   Have my kids?

24                Q.   Yes.    What are you referring to when you say the

25         bedbug thing?

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1                A.     Yeah.    They have.

2                Q.     Okay.    At Yolanda's house?

3                A.     Yes.

4                Q.     And so you didn't want them going in her house?

5                A.     No.

6                Q.     And then you said something -- and I'm just --

7          pardon the language, I'm just quoting -- getting my son in

8          some shit.

9                A.     They was going back and forth.             Like I said, I

10         didn't get in, I never got in the middle of it like I said.

11         Because like three or four days later, they would be

12         friends.

13                      So if you all can't get along, just don't say

14         nothing to each other for a couple days.

15               Q.     Had her kids gotten your kids in any trouble?

16               A.     No -- just arguing back and forth.

17                      Yolanda would put her two cents in there.             She

18         would have somebody from her other club to say something to

19         me.   It wasn't nothing for me to address.

20                      But until you all can be friends, don't say

21         nothing to each other.

22               Q.     And you said something about 40,000 -- I couldn't

23         understand what you were saying.

24               A.     When Ziyel and Dyamond got in trouble at school

25         for that fight, I had to pay for an educational attorney

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1          and a criminal attorney.           And the grandparents helped.

2               Q.      And why were you bringing that up in this

3          conversation?

4               A.      Just in case something happened at Yolanda's

5          house.

6               Q.      So you had already had to spend money on

7          attorneys.     And you were worried that this could result in

8          you having to spend additional --

9               A.      I didn't know what was going on.

10              Q.      But you were worried about it?

11              A.      Yes.

12                      MS. PACKER:      Ms. Walton, thank you.        I think

13         those are all my questions.

14                      I'm sure some of these other attorneys will have

15         some questions for you.

16                      THE WITNESS:       Okay.

17

18                                         EXAMINATION

19         BY MR. BENTON:

20              Q.      Hi, Ms. Walton.

21              A.      Hi.

22              Q.      Hi.    My name is Jason Benton again.          I just have

23         some follow-up questions.

24                      The nature of going second is that I jump around

25         a little bit, so forgive me.

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1               A.    Okay.

2               Q.    But I'll try to work through it quickly.

3                     You mentioned someone in, that lived on Burgundy

4          Street named CeCe.

5               A.    Yes.

6               Q.    Carena Welch?

7               A.    Yes.

8               Q.    What unit did she live -- what was her apartment

9          number if you know?

10              A.    I don't know.       But me and Yolanda's building was

11         right here.   And my door was the last door.                Her door was

12         the beginning door of the next apartment.                 I don't know the

13         number.

14              Q.    So as you face your front door for 1628-A

15         Burgundy Street, was CeCe's unit to your left?

16              A.    Yes.

17              Q.    And it was the next unit to the left?

18              A.    The first door.

19              Q.    You mentioned 919 Bosses.            And I think we

20         established that's a motorcycle club?

21              A.    They handle a lot of stuff with the motorcycle

22         clubs, everybody.

23              Q.    What do you mean?         I'm sorry.

24              A.    They bless people in.          They go off the rules,

25         like the new rules, new protocols, new bylaws that most

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1          people have to follow if they go.

2                Q.   Is, was 919 Bosses a club that you were a member

3          of?

4                A.   No.     No.   No.   They sit among everybody, that

5          oversees everybody, all clubs.

6                Q.   Oh, I see.      919 Bosses is an organization, is a

7          group that oversees other motorcycle clubs?

8                A.   Yes.

9                Q.   And were they overseeing the social club that you

10         and Yolanda had created, Dream Crushers?

11               A.   Yes.

12               Q.   That wasn't a motorcycle club though?

13               A.   That was a social.

14               Q.   I think you explained to Leslie that the

15         connection between that club and the motorcycle club is

16         that you're a sister organization of the motorcycle club?

17               A.   We were, we were in the process of finding a

18         brethren club or we had to go up under Outcast.

19                    And we was trying to avoid going up under Outcast

20         because Outcast is a little more, it's a little more -- I'm

21         trying to find the word for it -- you don't want to go up

22         under Outcast.

23               Q.   Rougher?

24               A.   Yeah.

25               Q.   Is there criminal activity in the Outcast Club?

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1               A.    Yeah.

2               Q.    Is Outcast a motorcycle club?

3               A.    Yeah.

4               Q.    Do you know -- you've mentioned and answered some

5          questions about the search that occurred I believe you said

6          upstairs in your home after you gave permission.

7                     Do you remember that?

8               A.    Yes.

9               Q.    On May 21, 2020?

10              A.    Yes.

11              Q.    Do you know what officers went upstairs to

12         search?

13              A.    They said the attic and for counterfeit money.

14              Q.    Do you know -- I asked that poorly.

15                    Do you know who the officers were that actually

16         searched upstairs?

17              A.    No.

18              Q.    Do you know how many searched?

19              A.    No.

20              Q.    Do you know what they looked like, what they were

21         wearing?

22              A.    I just remember one of them had the ATF thing on.

23         The other one -- I'm not for sure -- but he didn't go up

24         there by himself.

25              Q.    The one with the vest on did not go up by

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1          himself?

2               A.    No.

3               Q.    Do you know whether the officer you later learned

4          to be Omar Abdullah was part of the search upstairs?

5               A.    I didn't see him go upstairs.

6               Q.    Have you ever met with or communicated in any way

7          with the Wake County District Attorney Lorrin Freeman?

8               A.    No.

9               Q.    What about an Assistant District Attorney named

10         David Coleman --

11              A.    No.

12              Q.    -- have you ever met with him or spoken to him?

13              A.    No, sir.

14              Q.    Same question with respect to David Saacks.

15              A.    No, sir.

16              Q.    Have you spoken to anyone you understand to be an

17         assistant district attorney or district attorney concerning

18         either Omar Abdullah or the May 21, 2020 encounters?

19              A.    No, sir.

20              Q.    I told you I was going to hop around a little

21         bit --

22              A.    That's fine.

23              Q.    -- so apologies.       But the interview or the

24         examination of Ziyel by Dr. Etheridge, that occurred last

25         month, correct?

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1                A.    Yes.

2                Q.    And that was done over Zoom?

3                A.    Yes.

4                Q.    Were you on a laptop from your home or on some

5          other device?

6                A.    I did it from my phone.

7                Q.    Was your camera, was a camera on such that, to

8          your knowledge, Dr. Etheridge could see you or your son?

9                A.    Yes.

10               Q.    And could you see her?

11               A.    Yes.

12               Q.    And I understand that the examination of Ziyel

13         occurred roughly over the course of an hour that day.

14                     Is that your recollection?

15               A.    Yes.

16               Q.    And were you present for the entire thing?

17               A.    Yes.

18               Q.    And am I correct that Dr. Etheridge would have

19         asked questions during that one-hour examination?

20               A.    Say that again.

21               Q.    Yes, ma'am.        Is it correct that Dr. Etheridge

22         would have or did ask questions of you and Ziyel during

23         that one-hour session?

24               A.    Yes.

25               Q.    And who did most of the talking from your end?

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1          Was it you or Ziyel?

2               A.      He talked.      But he wasn't, he wouldn't say too

3          much of anything.

4               Q.      Do you feel like you provided more of the

5          information that the psychologist was requesting or did

6          Ziyel?

7               A.      When it came for Ziyel's questioning, he,

8          questioned, when she asked him questions --

9               Q.      So Ziyel --

10              A.      -- equally.

11              Q.      -- Ziyel answered some questions and you answered

12         some questions?

13              A.      Yes.

14              Q.      And you thought it was an equal sharing of

15         information?

16              A.      Yes.    If he didn't want to answer, he wouldn't

17         answer.

18              Q.      When there were moments when he did not answer,

19         did you provide information in response to Dr. Etheridge?

20              A.      Certain information, yes.

21              Q.      A couple of times today you've mentioned someone

22         named J.C.     Is that Juwan Harrington?

23              A.      Yes.

24              Q.      You also have mentioned a few times that one of

25         the things that Ziyel contends with or has to deal with now

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1          is anxiety, elevated anxiety in larger social settings.              Is

2          that right?

3               A.     Yes.

4               Q.     Did you see any signs of that in Ziyel before May

5          21, 2020?

6               A.     No.

7               Q.     Has anyone told you that Ziyel's anxiety in

8          larger social settings was related to the encounter with

9          Raleigh police on May 21, 2020?

10              A.     No.

11              Q.     Do you believe that the anxiety you observe in

12         Ziyel in large social settings or larger social settings is

13         because of the Raleigh Police Department encounter on May

14         21, 2020?

15              A.     Yes.

16              Q.     And is that because you didn't see it in him

17         before that date?

18              A.     My son, he, he played basketball, he played

19         football, he played soccer.           He don't do anything.

20                     Even like now, even though we stay in a different

21         apartment unit, I mean a new, another apartment, he'll go

22         and use the back door before he use the front door.

23                     He won't, like he'll clean up and stuff, but

24         he'll put all the trash at the back door.

25                     And like my oldest son or Z.G. come over, and the

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1          neighborhood has to be completely, like too many people not

2          have to be outside, they'll go help him take the trash.

3                         Like his whole social -- he don't have a social

4          life.

5                  Q.     Do you know whether the lockdown or the pandemic

6          had anything to do what you observed in Ziyel --

7                  A.     No.

8                  Q.     -- like that?

9                  A.     No.    Because he went to the beach prior.

10                 Q.     Was -- you mentioned some sports that Ziyel

11         played.

12                 A.     Yes.

13                 Q.     Did he play those for any school that he

14         attended?

15                 A.     Boys and Girls Club.

16                 Q.     And he hasn't done that since May 21, 2020?

17                 A.     He hasn't.

18                 Q.     And has he told you why he hasn't?

19                 A.     He don't say too much of nothing.

20                        Also prior to that, like a couple days after the,

21         the incident happened, my ex-husband's aunt stayed in Park

22         Glenn.       And she wanted the kids to come through there to

23         help her.

24                        Somebody had a flashlight.            And he freaked out.

25         He ran and got lost in the woods because he thought it was

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1          the police.     It took us an hour to find my son.

2               Q.      Were you there for that?

3               A.      Yeah.     I was at the house.      I had to go and help

4          look for him.

5               Q.      Because he had run --

6               A.      He ran off because he thought the, whoever had

7          the flashlight, he thought it was the cops.

8               Q.      Who was with Ziyel when that occurred?

9               A.      It was him, Dyamond, my daughter Sanaa, my great

10         niece Bri.

11              Q.      Pardon?

12              A.      Bri, Brianna -- it was her grandma's house.             They

13         was going to help her because she's an elderly lady.

14              Q.      And what was the address for that?

15              A.      I don't remember her address.          She don't live

16         there anymore, but it was in Park Glenn.             Where we stayed,

17         it's like a little path right there.

18                      And it's not -- versus them walking all the way

19         around on the highways, they can just take that little

20         path, the path is like a two-minute path versus walking

21         around the whole neighborhood.

22              Q.      When did that incident occur?

23              A.      I want to say like three or four days after they

24         raided the house.

25              Q.      So three or four days after May 21, 2020?

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1                  A.   I forgot the, another thing -- Mr. Chris, he was

2          the security guard that patrolled the, patrolled the,

3          Raleigh North.        He also helped.       He was the one that found

4          him in the bushes.

5                  Q.   Is Raleigh North another name for Millbank

6          Apartments?

7                  A.   Yes.     Somebody had brought him over, I mean,

8          yeah.

9                  Q.   But when you say Raleigh North, you're referring

10         to the Burgundy Street neighborhood?

11                 A.   The whole apartment complex.

12                 Q.   That you lived in on Burgundy Street?

13                 A.   Yes.

14                 Q.   And you're saying that someone asked the security

15         officer at the Burgundy Street apartment complex to help

16         look for Ziyel?

17                 A.   No.

18                 Q.   I'm sorry -- I misunderstood you.

19                 A.   We was looking for him.           And Mr. Chris asked what

20         was going on.

21                      We said Ziyel ran off when they, when he seen the

22         flashlight.        We don't know where he ran at.

23                      Mr. Chris just helped look.

24                 Q.   What is Mr. Chris' -- is that his first name,

25         Chris?

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1                  A.   We just call him Mr. Chris.            I don't know his

2          last name.

3                  Q.   And he's a security officer that --

4                  A.   He was a security officer at the apartment

5          complex.

6                  Q.   That kind of patrolled the area --

7                  A.   Yes.

8                  Q.   How long had a security officer patrolled that

9          apartment complex in, in which you lived on Burgundy

10         Street?

11                 A.   That I know of, Mr. Chris was there for about six

12         months that I know of.

13                 Q.   Was there always a security officer that

14         patrolled the --

15                 A.   No, sir.

16                 Q.   Was there, to your knowledge, any reason why a

17         security officer was patrolling the neighborhood at that

18         time?

19                 A.   I never asked.

20                 Q.   Were you glad that the security officer was

21         patrolling the neighborhood?

22                 A.   It didn't make a difference.

23                 Q.   Didn't make a difference?

24                 A.   No.

25                 Q.   Not to you?

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1                  A.   No, sir.

2                  Q.   Have you, yourself, Ms. Walton, suffered any sort

3          of emotional damage or injury as a result of the May 21,

4          2020 encounter?

5                  A.   I don't have -- I don't sleep that much, the

6          weight gain, my hair loss on the right side.

7                  Q.   Has -- have you seen a medical provider about

8          your sleep loss, your weight gain, and your hair loss?

9                  A.   My doctor specialized, my doctor, Dr. Cook, is

10         just -- I was off blood pressure pills for years.          I was

11         back on blood pressure pills because of the weight, the

12         weight gain.

13                      He gave me pills to help me with weight loss.

14         They haven't worked.       And he said see a dermatologist for

15         my hair loss.

16                 Q.   Has any medical provider told you that your sleep

17         loss, weight gain, and hair loss was associated with the

18         encounter with the Raleigh Police Department on May 21,

19         2020?

20                 A.   He didn't specifically say that, no.

21                 Q.   Has any medical professional told you that?

22                 A.   That's the only medical professional I go to.

23                 Q.   Understood.    And what practice is Dr. Cook with?

24                 A.   The Medical Associates.

25                 Q.   Raleigh Medical Associates?

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1                 A.   Yes.

2                 Q.   Where did you say that was located?

3                 A.   Off of Six Forks Road.

4                 Q.   Do you know Dr. Cook's first name?

5                 A.   Charles.

6                 Q.   And did you ever suffer from difficulty sleeping

7          before May 21, 2020?

8                 A.   No.

9                 Q.   How much sleep would you normally get on a given

10         night before May 21, 2020?

11                A.   Eight, nine, ten hours.

12                Q.   And since May 21, 2020, how much sleep do you

13         get?

14                A.   Probably like five.

15                Q.   Has that changed at all since May 21, 2020?

16                A.   My son gets up in the morning.

17                Q.   Who does?

18                A.   Ziyel.

19                Q.   He wakes up in the morning?

20                A.   He wakes up around, not wakes, but if he has a

21         moment or has his moments, he'll text or call or he'll just

22         come, if I'm home, he'll come in my room and just talk.

23                     I don't tell him to go to bed.             I don't tell him

24         to get out.       I mean I'm their mom.

25                Q.   Okay.

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1                  A.   That's what I signed up for -- the good, the bad,

2          and the ugly.

3                  Q.   Got you.     How often does it happen that Ziyel is

4          interrupting your sleep?

5                  A.   Every other night.

6                  Q.   And does he tell you why?

7                  A.   He just talks.

8                  Q.   Do you have good talks with him?            Are they

9          difficult talks?

10                 A.   We talk, try to make us laugh.

11                      That's why Dyamond and Kamisha took a job third

12         shift because they could have their iPods in.               They try to

13         give me a break.        He won't go nowhere.

14                      The other day, I tried to take him out just to

15         get him out of the house.        He said no, he'll go stand on

16         the back porch.

17                      We can't even do family trips.          He won't go.

18                      They're like -- it took me three hours to talk

19         him into doing family portraits -- but the guy had to come

20         inside our house -- for Christmas.           And we do it every

21         year.

22                 Q.   Have you asked Ziyel why he is concerned about

23         leaving the house?

24                 A.   He don't want to get shot or killed.

25                 Q.   Has he told you that?

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1                  A.      Yeah.

2                  Q.      Does that reaction, does it have anything to do

3          with some of the altercations he was involved in?

4                  A.      No.

5                  Q.      Does it have anything to do with the incident in

6          which I think you said he was jumped and he ended up with a

7          concussion?

8                  A.      He didn't know those guys.           They wanted -- when I

9          went to -- when I got off work -- when it happened, I got

10         off work.        I confronted the guys and their mom.            I did.    I

11         didn't care.

12                         And I'm not going to lie to you all -- I went out

13         there.        I fought, I fought them little boys.            I did not

14         care.        And most of them was grown men.

15                         You all worried about a neighborhood being --

16         y'all walking through that neighborhood -- my son's been

17         there a whole year.           And because they never seen them

18         before -- they don't owe nobody no answer or no

19         explanation.

20                         My kids are not no fighters.            They can take up

21         for themselves.

22                 Q.      Are you, are you telling us about the time when

23         Ziyel --

24                 A.      They got jumped.       And then even, when I went on

25         vacation, December the 17th, him and Z.G., waiting to go

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1          get something to eat, I went in the house to get my

2          pocketbook, he knew one of the, he was familiar with one of

3          the officers.    He's sitting in the back of, he's standing

4          at the back of my car, waiting for me and my boyfriend to

5          come out before we left to go to Atlanta.

6                      He come back in the house, crying, they're

7          searching him, talking about he had a gun.

8                      Don't, kids don't ask for that.              That's why my

9          son cut all his hair off.        Every time he turns around, he's

10         scared.

11              Q.     When, when was he searched by an officer?              What

12         you're describing to us, when did that happen?

13              A.     December the 17th of last year.

14              Q.     And what occurred that led to that?

15              A.     They was, we was about to leave out and go to

16         Atlanta.    They said they was hungry, so we said we're going

17         to take them to Zaxby's.        My boyfriend went to use the

18         bathroom.    I went to get my pocketbook.

19                     When I was coming back out, Ziyel was coming in

20         the house, pissed off, crying.          Z.G.'s coming down the

21         steps like, he's walking in the house behind Ziyel.

22                     I said what's going on?         Only thing I seen was a

23         black Impala with dark windows pulling off.

24                     When I called the, the local, me and my boyfriend

25         called the local substation and what officer was on duty,

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1          who was in that black Impala, they said they did not have

2          no aware about it.

3                       I asked how can I file a grievance.              They sent me

4          some kind of paper, looked like they just copied it off a

5          machine and mailed it to me.

6               Q.      You're describing an encounter that occurred

7          between Ziyel and law enforcement --

8               A.      Yes.

9               Q.      -- in December of 2021?

10              A.      Yes.

11              Q.      Where did this occur?

12              A.      Orchard Pointe.

13              Q.      Orchard Pointe?

14              A.      Yes.

15              Q.      And forgive me -- is that in Raleigh or is that

16         elsewhere?

17              A.      It's in Raleigh.

18              Q.      Do you know what law enforcement agency had an

19         encounter with Ziyel?

20              A.      He said if he saw his face, he'll know him.

21                      When we went to, when we came back from Atlanta,

22         we asked around the office to run a camera.                 But the camera

23         where my car is parked in front of the apartment, it only

24         shows the first three apartments and not mine.                 It only

25         shows when the Impala pulled off.

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1               Q.    What did Ziyel tell you -- I mean you didn't see

2          this happen?

3               A.    No.

4               Q.    What did -- did Ziyel tell you what happened?

5               A.    He said they asked for a ratchet, where's the

6          ratchet.

7                     And he said they searched his and Z.G.'s pocket

8          asking for a ratchet.

9                     I said what's that?

10                    My boyfriend said a gun.

11              Q.    So let me make sure I understand it.

12                    Ziyel and Z.G. are outside of a Zaxby's.

13              A.    No.    They was outside of my car.

14              Q.    Excuse me -- outside of your car.

15                    You were -- where were you?

16              A.    In the house getting my pocketbook.

17              Q.    And so this was, this happened in the, on the, at

18         1628-A?

19              A.    No.    We no longer live there.

20              Q.    Excuse me -- it's your current residence?

21              A.    Yes.

22              Q.    All right.      Thank you.

23                    And Ziyel said he was searched for a gun?

24              A.    That the guys, he said was, the officers got out

25         of the car asking for a ratchet, where was the ratchet.

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1                      And I ain't know what a ratchet was.

2                 Q.   Did he say how many officers were there?

3                 A.   He said it was a total of two.

4                 Q.   Did he ever tell you what they looked like?

5                 A.   He said if he see him, he could remember.           That

6          was the purpose of me calling the substation.

7                 Q.   When you say substation, you mean a station for

8          Raleigh Police Department?

9                 A.   That was in that location, yes.

10                Q.   Yes, ma'am.      And did you ever end up filing a

11         formal grievance?

12                A.   Not -- that paper that they sent me in the mail

13         to file it, I just took it as a joke.

14                Q.   Why is that?

15                A.   Because it didn't look professional.

16                Q.   How did it not look professional?

17                A.   Because it looked like a paper I probably could

18         have went online to print off myself.

19                Q.   The incident in which Ziyel was jumped and ended

20         up with a concussion, when did that occur?

21                A.   I know it was in July.          I don't remember what

22         day.

23                Q.   Was that July of this year?

24                A.   Yes.

25                Q.   And forgive me if this has already been covered

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1          -- but did he tell you how that happened or why he was

2          jumped?

3                  A.      Him and Robert was walking to the Dollar General,

4          not Dollar General, Dollar Tree to get their snacks.

5                          The guy kept asking who are they, this is their

6          neighborhood.          They never seen them before, who are they.

7                          He didn't answer, nor Robert answer.

8                          They asked who was the gay kid with all the hair.

9                          Robert is not gay.         Robert has a lot of hair.

10         They still didn't answer.

11                         So they went over there.           They pushed Robert

12         down.        And Ziyel just started fighting them back.

13                         And they started -- they jumped him.           He was

14         fighting them back.            Robert ran home.

15                 Q.      Since that incident, have you noticed more

16         behavior from Ziyel where he's showing that he doesn't want

17         to leave the house or go outside?

18                 A.      He'll go out at night to empty the trash when

19         nobody's out.          But it's basically the same.

20                 Q.      You mentioned in response to some questions that

21         police responded to a call from you regarding your car

22         being stolen.

23                 A.      Yes.

24                 Q.      When did that occur?

25                 A.      I don't recall.        I just know it was in February.

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1          I don't know what --

2                  Q.   You don't know what year?

3                  A.   Huh-huh.

4                  Q.   Is that a no?

5                  A.   No.

6                  Q.   Do you know whether it occurred before or after

7          the May 21, 2020 encounter with the Raleigh Police

8          Department?

9                  A.   Not for sure.

10                 Q.   When the, when you called the police, where were

11         you calling from?

12                 A.   I called from my house.

13                 Q.   Do you remember whether it was Burgundy Street

14         or --

15                 A.   It was Burgundy.        I was at Burgundy.

16                 Q.   And remind us again when you left for your

17         current residence.

18                 A.   June of, June 25th or 27th of 2021.

19                 Q.   When -- and that was a situation where you

20         contacted the Raleigh police to respond to your stolen car.

21         Is that right?

22                 A.   Yes.    Because I took an Uber home that night

23         because I was drinking.

24                 Q.   How was that encounter with the Raleigh police if

25         you remember?       How would you describe it?

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1                 A.    It was fine.       Because I had a tracker on my car.

2                       The car place said I couldn't, they couldn't cut

3          the car off until the Raleigh Police Department was

4          contacted.     So Raleigh Police Department had to cut the

5          tracker off.

6                 Q.    And they ended up finding your car?

7                 A.    They tracked it.        After they called and turned it

8          off.    And they had it, they had it towed to the address.

9                 Q.    How quickly after you reported it or after police

10         responded to your call was your car found?

11                A.    A couple seconds.

12                Q.    Technology.      You mentioned an ex-boyfriend that

13         stole clothes from -- was it you or from your children?

14                A.    No.    It was the boys' clothes.

15                Q.    And you called the police related to that?

16                A.    Yes.

17                Q.    When did that occur?

18                A.    Not for sure.

19                Q.    Was it before or after May 21, 2020?

20                A.    Before.

21                Q.    Do you know how long before?

22                A.    Probably a year and a half before.

23                Q.    And did, did you call from your home?

24                A.    No.    I called from my job.

25                Q.    And did the police actually physically respond to

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1          you?

2                 A.    Yes.    They came to the job.

3                 Q.    And how many police officers arrived?

4                 A.    One.

5                 Q.    And were they Raleigh police officers?

6                 A.    Yes.

7                 Q.    How was your encounter with that officer?

8                 A.    It was fine.

9                 Q.    You mentioned a situation in which an

10         ex-boyfriend actually shot at you.

11                A.    Yes.

12                Q.    And it struck your vehicle.

13                A.    Yes.

14                Q.    When did that occur?

15                A.    2015.

16                Q.    So about five years before the May 21, 2020

17         encounter?

18                A.    Yes.

19                Q.    And did you call -- you did call police for that?

20                A.    Yes.

21                Q.    It was Raleigh police?

22                A.    Yes.

23                Q.    And did they respond to you?

24                A.    Yes.

25                Q.    And did that -- did they come to your home?

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1                  A.   Yes.

2                  Q.   And how many responded?

3                  A.   A lot.

4                  Q.   Do you remember how many?

5                  A.   No.    A lot.

6                  Q.   More than two?

7                  A.   Yes.

8                  Q.   More than three?

9                  A.   Yes.

10                 Q.   More than four?

11                 A.   Yes.

12                 Q.   I'm going to keep going -- more than five?

13                 A.   Yes.     You would have thought somebody got

14         murdered.

15                 Q.   More than 10?

16                 A.   It probably was more than 10, yes.

17                 Q.   And can you describe the encounter you had with

18         the Raleigh police officers at that point?

19                 A.   They found him the next day.             It was -- they came

20         by to make sure that I was okay.             But by that time, I was

21         gone.

22                 Q.   Have you, yourself, had any encounters with

23         Raleigh Police Department officers since May 21, 2020?

24                 A.   Say that again.

25                 Q.   Have you had yourself any sort of face-to-face

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1          encounter with Raleigh Police Department officers after May

2          21, 2020?

3                 A.   Encounters?      As far as like calling them?

4                 Q.   Yes.    But I would go further and say any

5          encounters where police showed up and communicated with

6          you.

7                 A.   Yes.

8                 Q.   All right.      Can you walk me -- how many times has

9          that happened?

10                A.   Probably like two or three.

11                Q.   Since -- and this is after May 21, 2020?

12                A.   Yes.

13                Q.   Okay.    Can you describe those encounters for us?

14                     You can just start with the first one.

15                A.   One was, there was a guy sleeping on the back of

16         my bus, when I went to get in the bus.               They had to get him

17         off.

18                     And then -- and I guess like when I got a ticket

19         for the tint on my window.

20                Q.   Do you remember any others?

21                A.   The situation with, I told you all about when

22         Ziyel got jumped.

23                Q.   Was that the June, where he suffered the

24         concussion?

25                A.   Yes.

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1               Q.    Did you speak with or were you in the presence of

2          police officers related to that?

3               A.    Yes.

4               Q.    Where was that that you were in the presence of

5          police officers?

6               A.    At the house.

7               Q.    And forgive me -- was it the current residence?

8               A.    It's the current residence, yes.

9               Q.    How many -- let's start with that one -- how many

10         police responded to your house related to Ziyel getting

11         hurt in that altercation?

12              A.    Just two.

13              Q.    And how was that encounter?            How would you

14         describe that encounter with the police?

15              A.    They wasn't rude or anything.

16              Q.    Did you feel comfortable?

17              A.    Yes.

18              Q.    The ticket for the tint on your window, were you

19         driving and pulled over by an officer related to that?

20              A.    Uh-huh.

21              Q.    And when did that occur?

22              A.    I don't recall.

23              Q.    You just know it was after May 21?

24              A.    Yes.    It was after.

25              Q.    And was that Raleigh police that --

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1               A.    It was, yes.

2               Q.    And how was that encounter?

3               A.    It was good.

4               Q.    Did you feel comfortable?

5               A.    Yes.

6               Q.    And then you mentioned a guy sleeping on the back

7          of the bus that you were on.

8               A.    Yes.

9               Q.    Did you call the police or did someone else?

10              A.    I called.

11              Q.    You did?     That also was after May 21, 2020?

12              A.    Yes.

13              Q.    And when the police responded, how would you

14         describe your encounter with them?

15              A.    It was good.

16              Q.    And you felt comfortable?

17              A.    Yes.

18              Q.    Can you think of any other encounters you've had

19         with any sort of law enforcement, whether it was Raleigh

20         police or someone else, since May 21, 2020?

21              A.    That's all I can think of -- besides like my

22         ex-boyfriend, Mr. Dunn.        But they knew who he was.     So even

23         -- he had a rap sheet from here to -- but they wasn't rude

24         about it or anything.

25              Q.    Tell me what you mean.          Did you contact the

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1          police about your ex-boyfriend, Mr. Dunn?

2               A.    Yes.

3               Q.    And remind me -- what was that related to?

4               A.    He seen us on the news, me and the kids.

5               Q.    Oh, this is the, where you attempted to get the

6          restraining order?

7               A.    Yes.

8               Q.    How many times did you have to interface or

9          communicate with police related to that?

10              A.    Once.

11              Q.    And did they come to your house?

12              A.    No.     It was over the phone.

13              Q.    Over the phone.

14                    The occasions during which Ziyel and Dyamond were

15         suspended from school, from Leesville, did those

16         suspensions occur -- and I'm sorry to ask you this, you may

17         have told us -- did those suspensions occur before or after

18         May 21, 2020?

19              A.    Before.

20              Q.    All right.      Did you have to interface with police

21         officers as a result of those altercations and suspensions?

22              A.    No.     They had to go to Teen Court, but there

23         weren't no police officer.

24              Q.    Was there a school resource officer involved?

25              A.    No.

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1               Q.    All right.      We've been through the encounters

2          that you remember with police after May 21, 2020.

3                     And you've also told me about one that Ziyel told

4          you about that he had in December of 2021.                Is that right?

5               A.    Yes.

6               Q.    Do you know of any other encounters that Ziyel

7          has had with police since May 21, 2020 -- other than that

8          December incident you told us about?

9               A.    About the car, the stolen car, he didn't know the

10         car was stolen.

11              Q.    Right.     Did Ziyel describe to you that encounter

12         with police?      Did he tell you anything about the, his

13         interaction with the police for that?

14              A.    No, I don't think he said that everybody else was

15         going crazy, being rude and disrespectful.

16                    Basically what he said is the same thing the

17         officer said -- he complied, he wasn't rude, he didn't run.

18              Q.    And did he complain to you about how the officer

19         acted?

20              A.    He didn't say they was rude, no.

21              Q.    Did he tell you that he was uncomfortable being

22         in the presence of that officer?

23              A.    He was uncomfortable.

24              Q.    Did he tell you that?

25              A.    Yes.

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1               Q.    What do you remember him saying?

2               A.    He said, he said at first he was scared because

3          everybody else was going off, being rude and disrespectful.

4                     And he thought it was going to get him more in

5          trouble -- even though he didn't know what was going on.

6                     He said the handcuffs was a little too tight, but

7          the guy loosened it up.

8               Q.    Anything else you remember that Ziyel told you

9          about that?

10              A.    That was it.

11              Q.    All right.      Any other encounters with police that

12         Ziyel has described to you since May 21, 2020 that you

13         haven't told us about?

14              A.    No.     Not, not to my knowledge.

15              Q.    Okay.     Give me just a moment please.

16                    The robbery that involved Kamisha's friend --

17              A.    Yes.

18              Q.    -- when did that occur?

19              A.    I don't even remember.

20              Q.    Was it before or after May 21, 2020?

21              A.    It was before.

22              Q.    Do you know how long before?             Was it months or

23         years?

24              A.    No.     It wasn't years.       I know it was months.

25              Q.    And that was a situation where Raleigh police

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1          responded to your house?

2               A.      Yes.

3               Q.      And how was that encounter?

4               A.      They didn't respond until late that night.           The

5          incident happened around about 2:00 or 3:00.

6               Q.      2:00 or 3:00 in the afternoon?

7               A.      Yes.

8               Q.      And they responded later that evening?

9               A.      That night, yeah, around about 8:00.

10              Q.      Other than a later response than you would have

11         liked, was there anything else negative about that

12         encounter?

13              A.      They didn't, when he got arrested, they didn't

14         tell us no court date or they didn't tell me no court date.

15         They didn't say if they made, was making him pay me back my

16         3000 dollars.       I wasn't worried about the shoes.        But they

17         didn't give me no knowledge.

18                      Like any other time, the police officer would

19         keep me up to date on certain stuff, when they got

20         arrested, when he made bond, or nothing like that.

21              Q.      So they were later than you would have like them

22         to come --

23              A.      Yes.

24              Q.      -- and they didn't provide you as much

25         information as you would have liked?

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1               A.      Right.    Yes.

2               Q.      Anything else?

3               A.      No.

4               Q.      Did you, did you suffer -- you didn't suffer any

5          sort of physical injury as a result of the May 21, 2020

6          encounter, did you?

7               A.      Aside from weight, weight gain, and the hair

8          loss, and the sleepness.

9               Q.      You mentioned that.        How much weight have you

10         gained since that encounter that you attribute to the

11         encounter?

12              A.      About 75 pounds.

13              Q.      And are you doing anything about the weight gain?

14              A.      The doctor gave me, tried two different pills.

15                      One of them made my heart race really, really,

16         really quick.      So I didn't feel comfortable with taking

17         that one.     He tried another one, and it's like I'm not

18         seeing no results.

19                      So I was going to try the weight-loss surgery,

20         but I don't, I'm not big enough.

21              Q.      What do you mean -- to qualify for that?

22              A.      My doctor said I qualify, but it's -- I feel like

23         I can lose it on my own before I use my insurance.

24              Q.      Did your doctor provide any sort of dietary

25         guidance for the --

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1                  A.   He did.

2                  Q.   He did?     I know -- they're never fun, are they?

3                  A.   No.

4                  Q.   Have you attempted that?

5                  A.   I attempted it.

6                  Q.   How is that working out?

7                  A.   It's not.

8                  Q.   Not as well as you'd like?

9                  A.   No.

10                 Q.   I understand.       Did the doctor mention exercise?

11                 A.   Yes.

12                 Q.   And are you on an exercise regimen at all?

13                 A.   I am.     And then plus I'm -- I do it three times a

14         week.

15                 Q.   What is it?

16                 A.   I do like the gym.         He told me to eat -- I forgot

17         the name of the stuff.          It's nasty.       It's just greens and

18         water.

19                 Q.   Some sort of supplement?

20                 A.   Yes.

21                 Q.   Did you get regular exercise before May 21, 2020?

22                 A.   Yes.

23                 Q.   How?

24                 A.   I walked at least three to four miles every day.

25         I was -- what is it -- meal prepping.

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1               Q.    Meal prepping?

2               A.    Yes.    I did that.       And I was in Planet Fitness.

3               Q.    Forgive these questions -- but I want to follow

4          up based on what you've testified to -- Ms. Walton.

5                     Did you struggle with weight gain before May 21,

6          2020 and that's why you were exercising and doing meal

7          prepping, et cetera?

8               A.    I had -- I wasn't as big as I was, but I wanted

9          to be smaller.

10              Q.    Okay.    Has Dr. Cook or any medical provider

11         diagnosed you with anything to explain your sleep loss,

12         your weight gain, and your hair loss?

13              A.    I don't think -- he said it's probably from

14         stress.   He didn't --

15              Q.    He hasn't told you that?

16              A.    He just said it's probably from stress.

17              Q.    He did say that?

18              A.    Yes.

19              Q.    Anything else?

20              A.    No.

21              Q.    And am I correct that you have not visited or

22         treated with a mental health provider related to anything

23         concerning the May 21, 2020 encounter?

24              A.    No.

25              Q.    Is that correct though?

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1               A.     Correct.

2               Q.     Do you believe that you suffered an injury to

3          your reputation as a result of the May 21, 2020 event?

4               A.     As far as the news, yes.

5               Q.     Tell me what you mean.

6               A.     I've been on the news.          I just feel like I have

7          to -- I can't do certain stuff.

8               Q.     What --

9               A.     As far as like, as far as when I go out with the

10         social club, I pick and choose what I do.

11              Q.     And why is that?

12              A.     One person asked me you about to be a millionaire

13         -- no.    My president hasn't even asked.

14              Q.     Your what?

15              A.     President.

16              Q.     President?

17              A.     Yes.

18              Q.     People are asking you about the lawsuit and --

19              A.     Or thinking I got money.

20              Q.     And thinking you're going to get money from it?

21              A.     Already have or --

22              Q.     And you mentioned -- when I asked you about the

23         reputation point, you mentioned the media.

24              A.     Yes.

25              Q.     How many media interviews have you given?

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1                  A.   One.

2                  Q.   To what media outlet was that?

3                  A.   It was WRAL.

4                  Q.   And do you know, is that --

5                  A.   It was about the body cam.

6                  Q.   And you think it's just the one interview you've

7          given?

8                  A.   I think it was just one.

9                  Q.   And there was TV, there was video of you --

10                 A.   I didn't -- I did via Zoom because I had, I had

11         open back surgery.        So I couldn't --

12                 Q.   When did you have back surgery?

13                 A.   In February -- I forgot the date.              It was this

14         year.

15                 Q.   This year?      What happened, what was wrong with

16         your back?

17                 A.   I had a, I forgot the name of it, a big knot in

18         the back.     It started off small and it got really, really

19         big.

20                 Q.   Was it pinching a nerve?

21                 A.   Yes.

22                 Q.   Were you feeling pain in your legs or your arms

23         as a result?

24                 A.   Yes.

25                 Q.   Which one?

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1                  A.   My left.

2                  Q.   Left leg?

3                  A.   Uh-huh.

4                  Q.   Yes?

5                  A.   My left side, yes.

6                  Q.   Do you know what the name of the surgery was that

7          you had done?

8                  A.   No.    I don't remember the name.

9                  Q.   Were you under general anesthesia?

10                 A.   Yes.

11                 Q.   So it was a big deal?

12                 A.   Yes.    He said when he went in my back, it was

13         bigger than what he expected.

14                 Q.   Do you know how your, how that injury occurred

15         that resulted in your surgery?

16                 A.   He, he said it was, he said it's something about

17         the fatty tissue or something.

18                 Q.   In other words, do you remember a particular

19         incident that occurred that resulted in your back surgery?

20                      Or have you just always dealt with some back

21         pain?

22                 A.   No.    I never had dealt with back pain.

23                 Q.   And you don't recall a particular moment or

24         incident when it occurred?

25                 A.   No.

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1                Q.   Who was the doctor that operated on you, that

2          performed the surgery?

3                A.   I forgot his name.         He's at WakeMed.

4                Q.   At WakeMed?

5                A.   Yes, the main campus.

6                Q.   And was that a doctor that Dr. Cook referred you

7          to?

8                A.   No.    WakeMed ER.

9                Q.   You went to ER, the ER?

10               A.   Yes.

11               Q.   And then at some point it resulted in the back

12         surgery?

13               A.   Yes.

14               Q.   The WRAL interview, who, who reached -- did you

15         reach out to them, to that TV station?              Or did they reach

16         out to you?

17               A.   They reached out to me.

18               Q.   How did they do that?          Was that through the,

19         texting you?

20               A.   They had talked to Yolanda first.

21                    (Exhibit 12 is marked for identification.)

22                    MR. BENTON:      I'll show your attorney first what

23         I've marked as Exhibit 12.         That should be stapled.

24                    THE WITNESS:       I never talked to him.

25                    MS. GLADDEN:       Just wait a second.

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1                     MR. BENTON:      And after you've looked at it, just

2          let me know when you're finished.

3                     THE WITNESS:       Okay.

4                     (Brief pause in the proceeding)

5                     MS. GLADDEN:       Okay.

6          BY MR. BENTON:

7               Q.    So, Ms. Walton, Exhibit 12 appears to be maybe

8          Facebook messages from a media outlet to you.

9               A.    Yes.

10              Q.    Is that right?

11              A.    Yes.

12              Q.    It looks like it's from CBS-17-WNCN.

13              A.    Yes.    Yes.

14              Q.    Did you ever respond to the media outlet that was

15         messaging you?

16              A.    No, not him.       Only thing I replied back was to

17         talk to my attorney.

18              Q.    Did you ever end up giving an interview to that

19         media outlet?

20              A.    No.

21              Q.    But WRAL reached out to you and asked for an

22         interview and you gave it.         Is that correct?

23              A.    About the body cam, yes.

24              Q.    And that was related to the hearing concerning

25         publishing the body cam videos?

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1               A.      Yes.

2               Q.      How were you -- how did WRAL ask for an

3          interview?     Did they call you?          Did they message you?            How

4          did that happen?

5               A.      They did one with Yolanda.            Then they contacted

6          -- Yolanda had asked Dyamond for my number I think.                    It's

7          something like that.         And I gave my number.          And they

8          called me.

9               Q.      And you agreed to give them an interview.                 Is

10         that right?

11              A.      Yes.

12              Q.      The body-worn camera video that was the subject

13         of that hearing, do you know whether that video showed your

14         son Ziyel in handcuffs?

15              A.      I'm not for sure.

16              Q.      But you, your position on that hearing was that

17         you wanted the video made public.              Is that correct?

18              A.      Yes.

19              Q.      If it showed Ziyel in handcuffs, would that

20         change your mind?

21              A.      No.

22              Q.      Why?    Why not?

23              A.      Because he was, he was, he took the majority of

24         what was going on.        He was treated unfairly.           It wasn't

25         about him being in handcuffs or not.               It was about him

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1          being treated unfairly.

2                  Q.    We started talking about the media because of my

3          question about whether you thought there was any injury to

4          your reputation.

5                        I think what you were describing to me is a

6          situation where people saw you on TV and then started

7          assuming you had money or that you would.                    Is that correct?

8                  A.    Yes.

9                  Q.    Any other reason why you think your reputation

10         was injured as a result of the encounter?

11                 A.    Had to get a restraining order, had to change my

12         number.      I'm a very personal person.            Regardless of what's

13         going on, it's nobody's business.               I don't want nobody to

14         know.

15                       It's just like if I hit the lottery today, I

16         don't want nobody to know.

17                 Q.    If I may, why did you agree to give the interview

18         to the TV station?

19                 A.    Because I feel like something was being covered

20         up that needs to be known.            A lot of rules and regulations

21         need to be changed.

22                       It's not everybody's fault, but somebody, the

23         person who's being mistreated and people who did wrong by

24         it needs to be, it needs to be justified.

25                 Q.    And am I correct that part of the consequence of

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1          you speaking to the media was that some people are paying

2          more attention to you than you want.               Is that right?

3                  A.   Right.

4                  Q.   For instance, the ex-boyfriend that you needed to

5          get a restraining order on or attempted to get a

6          restraining order on?

7                  A.   Yes.

8                  Q.   And the questions you're getting at your social

9          club?

10                 A.   Yes.

11                      MR. BENTON:      Tell you what -- if we can, let's

12         take a quick break.         And I'll check my notes.

13                      MS. GLADDEN:       Sure.

14                      THE VIDEOGRAPHER:          Off the record at 2:51.

15                      (Off the record)

16                      THE VIDEOGRAPHER:          Back on the record at 3:01.

17         BY MR. BENTON:

18                 Q.   Ms. Walton, I just have a few more.            And then

19         I'll pass to the other attorneys.

20                      Other than the conversation that you had with

21         Omar Abdullah in your apartment on May 21, 2020, in which

22         he asked for permission to search the upstairs of your

23         apartment, have you had any other conversations or

24         communications with him?

25                 A.   Well, he was outside talking to my son.

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1                  Q.   Okay.     Tell me about, what do you remember about

2          that?

3                  A.   I remember Ziyel was getting mad.               And he kept

4          telling Ziyel -- he was talking to somebody, I'm not

5          recalling who -- and Ziyel was getting mad.

6                       And I just told him not to be disrespectful.

7                       And he was like he's accusing me of some, he's

8          accusing me of talking to somebody.               He said I was coming

9          out of the house.

10                      He was talking to Abdullah then.               And Abdullah

11         was like just don't run no more when you see the police

12         officer.     And that was --

13                 Q.   You observed this conversation?

14                 A.   Yes.     I did.

15                 Q.   Do you remember anything else about it?

16                 A.   That was it.

17                 Q.   Any other conversations with Abdullah?

18                 A.   No.     He said he was going to put him back in my,

19         he was going to take him out of the handcuffs and send him

20         back to the house.

21                      I said okay.       That was fine.

22                 Q.   Okay.     Do you, do you know or have you met to

23         your knowledge a Sergeant William Rolfe?

24                 A.   No.     Not to my knowledge.

25                      MR. BENTON:       All right.      Ma'am, for the moment,

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1          those would be my questions.           Thank you for your patience.

2                      THE WITNESS:       Thank you.

3

4                                         EXAMINATION

5          BY MS. POOLE:

6               Q.     Good afternoon, Ms. Walton.            My name is Alayna

7          Poole.    I also just have a few questions.

8                      And, again, they may be a little sporadic since

9          we've covered a lot of topics thoroughly.

10                     One of the questions I want to ask is

11         approximately how many physical altercations has Ziyel been

12         involved in with people other than siblings, you know?

13              A.     I want to say two.

14              Q.     Two total?

15              A.     Two to my knowledge, yes.

16              Q.     And that's including the times where he was

17         jumped or --

18              A.     In his school.

19              Q.     And at school?

20              A.     Yes.

21              Q.     Okay.    I want to follow up too on the incident

22         with Floyd Dunn -- that was your ex-boyfriend's name?

23              A.     Yes.

24              Q.     And you were at the car, if I remember your

25         testimony correctly, when he was shooting?

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1                A.    Yes.    I put my bags in the car.

2                Q.    Your bags.       And where were your kids?

3                A.    On the steps.

4                Q.    So they were outside as well?

5                A.    They was on the steps of the apartment.              And I

6          was putting my bags inside the car.

7                Q.    Could they see you?

8                A.    Yes.

9                Q.    And which kids were there at the time?

10               A.    All of them.

11               Q.    All of them?        Kamisha --

12               A.    Kamisha, Dyamond, Ziyel, Robert, Sanaa, and

13         Kaleb.

14               Q.    Okay.     You said a lot of officers responded --

15               A.    Yes.

16               Q.    -- after you called?

17                     Could you compare it to the number of officers

18         that were at your house on May 21, 2020?

19               A.    It was about the same.

20               Q.    About the same?

21               A.    Yes.

22               Q.    The incident you talked about where Ziyel was

23         searched -- I believe it was at Orchard Pointe, is that

24         correct?

25               A.    Yes.

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1               Q.    Do you recall if Ziyel described the two

2          individuals as being in any sort of uniform?

3               A.    No.     They was in regular clothes.

4               Q.    Regular clothes?        And you mentioned also that

5          your doctor prescribed two different medications for you.

6                     Do you remember the name of either of those

7          medications?

8               A.    You're talking for the diet pills?

9               Q.    Yeah.

10              A.    I don't remember them.

11              Q.    You wouldn't happen to have any of them with you?

12              A.    Not with me.       I know they're at home.       I can --

13              Q.    Actually just two sort of short topics.

14                    You mentioned earlier that your children are

15         diagnosed with asthma.        Is that all of your children?

16              A.    Yes.     Except Sanaa.

17              Q.    I'm sorry?

18              A.    Yes.     Except Sanaa.

19              Q.    Okay.     And when were they diagnosed?         Was it

20         before May 21, 2020?

21              A.    Yes.

22              Q.    And what sort of symptoms do they show when

23         they're having complications of asthma?

24              A.    Kamisha's chest tightens.            Robert's is like a

25         seasonal cold.      Ziyel has, Ziyel, it's like his, his, he's

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1          dizzy, chest tightening -- because they thought it was a

2          heart problem at first.         Dyamond is short of breath,

3          dizziness as well.

4               Q.     What usually triggers an asthma attack for your

5          children?

6               A.     Ziyel's is year-around.           Robert's normally comes

7          in just the wintertime.         Kamisha's is normally wintertime.

8          Dyamond's is wintertime.

9               Q.     So it's only affected by seasonal changes?

10              A.     But Ziyel's year-around, yes.

11              Q.     Okay.    But there's no activities that will make

12         it worse?    Is there anything that aggravates their asthma?

13              A.     I know they have to, in school, they had to do

14         the asthma pump 30 minutes before they did recreations and

15         when they came in.

16              Q.     So physical activity or --

17              A.     Yes.

18              Q.     -- would trigger?

19                     And what type of medications do they use to

20         manage their asthma?

21              A.     Albuterol -- well, everybody has albuterol.

22                     Ziyel has a, he has the albuterol machine.                And

23         he was -- I forgot that other one he was on.               It was a

24         steroid.

25              Q.     And do you have any asthma?

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1               A.    I do have asthma.

2               Q.    And you also use an albuterol inhaler?

3               A.    I use that inhaler.         And I use another inhaler.

4          I forgot the name of it.

5               Q.    This is my last question -- on May 21, 2020 when

6          the officers were leaving your apartment, do you remember

7          telling Dyamond to say anything to officers as they left?

8               A.    No.

9               Q.    You don't remember?

10                    If you had told him to apologize to officers --

11         let me rephrase that.

12                    Did you say anything to the officers as they left?

13              A.    I don't think so.

14                    MS. POOLE:      Okay.

15                    MS. PETTY:      Last but not least.

16

17                                       EXAMINATION

18         BY MS. PETTY:

19              Q.    I'm Amy Petty.        I just have a couple of questions

20         for you.

21                    Are you related to Z.G. or his mother Nanetta

22         Grant?

23              A.    No.

24              Q.    Okay.    Are you on friendly terms with Mrs. Grant?

25              A.    Yes.

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1                  Q.     And do you recall on May 21, 2020, when you all,

2          everybody was in your living room of your home, do you

3          recall Aries -- if I'm pronouncing her name correctly --

4                  A.     Yes.    You are.

5                  Q.     -- do you recall Aries making a comment about it

6          being a hot house over there in reference to Mrs. Irving's

7          apartment?

8                  A.     No.

9                  Q.     Okay.    Do you remember her being on the phone

10         while you all were in the living room?

11                 A.     I'll be honest, I wasn't paying attention.

12                 Q.     If she were, referred to Ms. Irving's apartment

13         or home as being a hot house, what would you take that to

14         mean?

15                 A.     That's a lie.       I mean I wouldn't --

16                 Q.     What does, what does hot house mean to you?

17                 A.     My definition of a hot house, somebody's coming

18         in and out I guess.

19                 Q.     Would it have anything to do coming in, in and

20         out possibly related to drug dealing?

21                 A.     I don't know.       She knew her before I moved over

22         there.       So --

23                 Q.     Aries knew Ms. Irving?

24                 A.     Yes.

25                 Q.     Okay.    And did Aries -- I'm sorry, I don't

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1          remember if you testified to this or not -- did Aries live

2          in, over there on Burgundy Street also?

3               A.      She, I think she had just -- I think she stayed

4          at the top I think.

5               Q.      Okay.    But she was a resident there also --

6               A.      Yes.

7               Q.      -- as far as you knew?

8                       And was friendly with Mrs. Irving?

9               A.      No.

10              Q.      Okay.

11                      MS. PETTY:      I don't have anything further.

12                      MS. GLADDEN:       Could I ask two clarifying

13         questions?

14

15                                         EXAMINATION

16         BY MS. GLADDEN:

17              Q.      The day that you mentioned going to WakeMed ER

18         that subsequently led to your back surgery, did you go to

19         the ER that day because of your back?               Or was there another

20         reason?   Or why did you go to the ER that day?

21              A.      I was on the bus.         And I had like an hour, hour

22         and a half worth of sleep.           And I still went to work anyway

23         -- after my boyfriend told me not to go to work.

24                      And I thought I was having a heart attack.            And I

25         had to pull over on, it's a, I don't know the, it's like a

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1          cement mill over there, I pulled over.

2                       And some of the people from the job and one of

3          dispatch girls was behind me on her way to work and called

4          the EMS.

5               Q.      And how were you transported to WakeMed?

6               A.      EMS.

7               Q.      And then what happened at the emergency room?

8               A.      They ran the tests on my heart, ruled out was it

9          a heart attack, heartburn, stress.

10                      And when he was checking my back is when he felt

11         the knot on my back.         And the knot was painful.

12              Q.      And then just one other quick clarifying

13         question.

14                      Prior to May 21, 2020, did you have any, did you

15         believe there to be any drug dealing in Ms. Irving's

16         apartment?

17              A.      No.    She was basically like I was.

18                      MS. GLADDEN:       Okay.    Thank you.

19

20                                   FURTHER EXAMINATION

21         BY MR. BENTON:

22              Q.      Ms. Walton, do you know where Aries currently

23         lives?

24              A.      No.

25              Q.      Do you have her telephone number?

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1               A.    No.

2               Q.    Do you have any way to reach her?

3               A.    No.

4               Q.    Do you know if she's in Raleigh?

5               A.    I don't know.       Because when I moved from over

6          there, I moved.

7               Q.    When is the last time you saw her?

8               A.    Right before I moved from over there.

9               Q.    And she was, was or is the sister of your

10         ex-boyfriend?

11              A.    Ex-boyfriend.

12              Q.    Whose name was --

13              A.    Brian Gunter.

14              Q.    -- Brian Gunter.

15                    And do you know where Brian lives currently?

16              A.    I don't know where he lives.

17              Q.    Does he live in Raleigh?

18              A.    He is in Raleigh.

19              Q.    He is in Raleigh?

20              A.    Yes.

21                    MR. BENTON:      That's all I have.

22                    THE VIDEOGRAPHER:         This concludes the deposition.

23         The time is 3:15.

24                    (The deposition concluded at 3:15 p.m.)

25                    (Signature is reserved.)

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1                           CERTIFICATE OF REPORTER

2

3          STATE OF NORTH CAROLINA AT LARGE, to wit:

4

5               I, Michelle Maar, RDR, RMR, FCRR, the officer before

6          whom the foregoing deposition was taken, do hereby certify

7          that the witness whose testimony appears in the foregoing

8          deposition was duly sworn by me, that the testimony of said

9          witness was taken by me to the best of my ability and

10         thereafter reduced to writing under my direction;

11              That I am neither counsel for, related to, nor

12         employed by any of the parties to the action in which this

13         deposition was taken, and further that I am not a relative

14         or employee of any attorney or counsel employed by the

15         parties thereto, nor financially or otherwise interested in

16         the outcome of the action.

17              Certified the 28th day of November 2022.

18

19

                                  <%21741,Signature%>

20                                Michelle Maar, Court Reporter

21

22         Notary Public #201628400102

23         My Commission expires October 4, 2026

24

25

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1        Emily D. Gladden

2        Egladden@tinfulton.com

3                                      November 29, 2022

4        RE: Irving, Yolanda v. The City Of Raleigh

5             11/15/2022, Kenya Walton (#5552433)

6             The above-referenced transcript is available for

7        review.

8             Within the applicable timeframe, the witness should

9        read the testimony to verify its accuracy. If there are

10       any changes, the witness should note those with the

11       reason, on the attached Errata Sheet.

12            The witness should sign the Acknowledgment of

13       Deponent and Errata and return to the deposing attorney.

14       Copies should be sent to all counsel, and to Veritext at

15       cs-carolinas@veritext.com.

16

17        Return completed errata within 30 days from

18     receipt of testimony.

19         If the witness fails to do so within the time

20     allotted, the transcript may be used as if signed.

21

22                         Yours,

23                        Veritext Legal Solutions

24

25

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3                                E R R A T A          S H E E T
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5        __________________________________________________
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21       REASON____________________________________________
22
23       ________________________________                     _______________
24       Kenya Walton                                               Date
25

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1        Irving, Yolanda v. The City Of Raleigh

2        Kenya Walton (#5552433)

3                          ACKNOWLEDGEMENT OF DEPONENT

4             I, Kenya Walton, do hereby declare that I

5        have read the foregoing transcript, I have made any

6        corrections, additions, or changes I deemed necessary as

7        noted above to be appended hereto, and that the same is

8        a true, correct and complete transcript of the testimony

9        given by me.

10

11       ______________________________                ________________

12       Kenya Walton                                     Date

13       *If notary is required

14                             SUBSCRIBED AND SWORN TO BEFORE ME THIS

15                             ______ DAY OF ________________, 20___.

16

17

18                             __________________________

19                             NOTARY PUBLIC

20

21

22

23

24

25

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                                 Rule 30



    (e) Review By the Witness; Changes.

    (1) Review; Statement of Changes. On request by the

    deponent or a party before the deposition is

    completed, the deponent must be allowed 30 days

    after being notified by the officer that the

    transcript or recording is available in which:

    (A) to review the transcript or recording; and

    (B) if there are changes in form or substance, to

    sign a statement listing the changes and the

    reasons for making them.

    (2) Changes Indicated in the Officer's Certificate.

    The officer must note in the certificate prescribed

    by Rule 30(f)(1) whether a review was requested

    and, if so, must attach any changes the deponent

    makes during the 30-day period.




    DISCLAIMER:      THE FOREGOING FEDERAL PROCEDURE RULES

    ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

    THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

    2019.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

    OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.




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